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UNITED STATES DISTRICT COURT LOO bi Wh
SOUTHERN DISTRICT OF FLORIDA acy pe m8,
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FORT LAUDERDALE DIVISION
CASE NO. 02-21769-CIVEMARREA - - iS "
MAGISTRATE JUDGE SELTZER
NICOR INTERNATIONAL CORPORATION

and CONSULTORES DE LA CUENCA DEL
CARIBE a/k/a CARIB CONSULT,

Plaintiffs.
V.

EL PASO CORPORATION f/k/a OCEANO
CORPORATION or THE COASTAL
CORPORATION (later THE EL PASO
ENERGY CORPORATION),

Defendants.

 

COASTAL’S EMERGENCY MOTION AND MEMORANDUM IN FURTHER
SUPPORT OF ITS MOTION FOR ENTRY OF PERMANENT INJUNCTION

Counter-plaintiff, The Coastal Corporation (hereinafter “Coastal’), files this emergency
motion and memorandum in further support if its request that the final judgment in this matter
contain a permanent injunction restraining counter-defendants Nicor International Corporation
("Nicor") and Consultores de la Cuenca del Caribe ("Carib") from continuing with any action in

the Dominican Republic litigation.

PRELIMINARY STATEMENT

Due to recent events this emergency motion is filed seeking the Court’s disposition of

Coastal’s previously filed motion for a Final ‘udgment that includes a permanent injunction.

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This motion has been necessitated by counter-defendants’ recent actions seeking to garnish
and/or attach the assets of Coastal and of Coastal’s clients in the Dominican Republic.

This Court has twice ruled that Coastal is entitled to summary judgment on its claim
seeking confirmation of the Final Arbitration Award dated August 13, 2001. See Nicor
International Corporation, et al. v. El Paso Corporation, 292 F. Supp.2d 1357 (S.D. Fla. 2003)
(Nicor 1) and Nicor International Corporation, etal. y. El Paso Corporation, 2004 W.L.
1161842 (S.D. Fla. May 25, 2004) (Nicor HJ). Pursuant to Eleventh Circuit precedent Coastal has
moved the Court to enjoin the parallel foreign litigation instituted by counter-defendants so as to
protect the integrity of its orders.

Despite this Court’s orders in Nicor / and Nicor I, counter-defendants have continued the
prosecution of the Dominican Republic litigation in deliberate and flagrant disregard of this
Court’s decision confirming the Final Arbitration Award. Indeed, on September 29, 2004, Nicor
and Carib obtained a final judgment of $11,000,000 against Coastal. Counter-defendants are
now attempting to execute on Coastal’s assets in the Dominican Republic and have begun
garnishing bank accounts based on the September 29, 2004 judgment. In order to protect the
integrity of this Court's ruling, it should immediately issue a final judgment which enjoins Nicor
and Carib from proceeding with the Dominican Republic litigation. Mutual Service Insurance

Company v. Frit Industries, Inc., 358 F.3d 1312, 1324-1325 (1 1™ Cir. 2004).

PROCEDURAL AND FACTUAL BACKGROUND

The Court set forth the relevant facts in this case in Nicor I. Coastal set forth the material

facts in support of its motion for permanent injunction in its June 21, 2004 memorandum in

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support of permanent injunction. This section shall only highlight the facts which necessitate this
motion.

Nicor and Carib instituted the instant action seeking to "domesticate" the Dominican
Republic sentence as well as alleging numerous causes of action sounding in tort as well as a
Florida RICO violation. Coastal immediately answered and filed a counterclaim seeking
confirmation of the arbitration award. Coastal then moved for summary judgment on all of
Nicor and Carib's claims as well as for summary judgment on its claim to confirm the arbitration
award. On November 24, 2003, this Court granted Coastal's motions for summary judgment.
See Nicor I.

On December 12, 2003, Coastal moved for the entry of a judgment seeking a permanent
injunction restraining Nicor and Carib from proceeding with the Dominican Republic litigation.
On May 25, 2004, this Court denied counter-defendants’ motion for reconsideration (Nicor II)
and entered the Order so that Nicor and Carib would have notice of the claim for permanent
injunction and have an opportunity to address the issue.

Pursuant to this Court's Order in Nicor l/ and this Court’s June 15, 2004 Order Adopting
Proposed Briefing Schedule the Court sought direction on how it should handle Coastal’s request
for a permanent injunction and any other remaining issues. In response on June 21, 2004,
Coastal submitted its Memorandum in Support of Its Motion for Permanent Injunction and on
July 9, 2004, Coastal filed its Reply Memorandum in Support of Permanent Injunction. Copies
of these pleadings are attached as Exhibits 1 and 2.

Despite this Court’s Nicor / order granting Coastal’s motions for summary judgment and

the Nicor II order denying counter-defendants’ motion for reconsideration, Nicor and Carib have

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continued with the Dominican Republic litigation. To this end, on September 29, 2004 counter-
defendants obtained a judgment in the amount of $11,000,000 against Coastal. A copy of the
judgment is attached as Exhibit 3. Subsequent to the September 29, 2004, judgment, counter-
defendants have begun to execute on the judgment by freezing certain bank accounts. A copy of
a letter confirming the freezing of certain bank accounts is attached as Exhibit 4 and of a motion
seeking attachment of monies as Exhibit 5.

ARGUMENT
COASTAL IS ENTITLED TO AN INJUNCTION PROHIBITING

NICOR AND CARIB FROM PROCEEDING WITH THE
DOMINICAN REPUBLIC LITIGATION ON AN EMERGENCY BASIS

A. Entry of a Permanent Injunction on an Emergency Basis is Necessary.

At the time that Coastal first requested the entry of a permanent injunction counter-
defendants had not yet obtained a final judgment. However, as evidenced by the entry of a
judgment, counter-defendants have finally obtained a final judgment in the Dominican Republic
litigation. Furthermore, in complete disregard of this Court’s orders, counter-defendants are
attempting to execute on this final judgment. Absent a permanent injunction, this Court’s orders
will be ignored with impunity by Nicor and Carib. Coastal is suffering significant harm by
having its assets in the Dominican Republic attached. Pursuant to the Court’s rulings on the

merits of this action, Coastal is entitled to a permanent injunction.

B. The Court is Authorized to Enter a Permanent Injunction.

As set forth in Coastal’s initial memorandum in support of a permanent injunction, a
copy of which is attached as Exhibit 1, under the All Writs Act, “the Supreme Court and all
courts established by Act of Congress may issue all writs necessary or appropriate in aid of their

respective jurisdictions and agreeable to the usages and principles of law." 28 U.S.C.A.

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§ 1651(a) (2002). The Act empowers district courts to enjoin persons subject to their jurisdiction
from prosecuting foreign suits. Commercializadora Portimex, S.A. v. Zen-Noh Grain Corp., 202
W.L. 31697710 (E.D. L.A. Dec. 3, 2002). It is well settled among the circuits which have
reviewed the grant of an anti-suit injunction that federal courts have the power to enjoin persons
subject to the jurisdiction from prosecuting foreign suits. Mutual Service, supra; Laker Airways,
supra, Indeed, this Court in its Order explicitly recognized the Court's inherent authority to issue
such an injunction when it stated:

Additionally, the fact that the Final Arbitration Award did not

award injunctive relief to Coastal is of no moment since the Court

has the inherent authority to enjoin parties from pursuing litigation

in a foreign tribunal in appropriate circumstances. (citing Mutual
Service, supra, and Laker Airways, supra.)

Order, p.2
With respect to the protection of jurisdiction, the Laker Airways court recognized that the
request for an anti-suit injunction may arise either before or after a judgment has been entered in

acase. In that regard, the court concluded that:

The policies that guide the exercise of discretion vary slightly in
each situation. When the injunction is requested after a previous
judgment on the merits, there is little interference with the rules
favoring parallel proceedings in matters subject to concurrent
jurisdiction. Thus, a court may fully protect the integrity of its
judgments by preventing their evasion through vexatious or
oppressive relitigation. (emphasis added.)

Laker Airways, 731 F.2d 927-928.
It is exactly this policy that the Eleventh Circuit cited in Mutual Service when it affirmed
the issuance of an anti-suit injunction after the entry of a judgment. In that case plaintiffs

requested that certain foreign insurers parties to the litigation be permanently enjoined from

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continuing to litigate an already decided issue on the Isle of Man. In affirming the district court's
grant of an anti-suit injunction, the Eleventh Circuit stated:

The district court issued the injunction affer it issued its opinion on

the duty to defend the issue. Abstention at this point would be

illogical, because the district court had already issued a binding

decision on the same issue Inter-Industry was trying to litigate in

the Isle of Man.

. In this case, the "only conceivable benefit that [the foreign
defendants] would reap if the district court's injunction were
overturned would be the right to attack the pending United States
action in a foreign court." Laker Airways, 731 F.2d at 915. We

hold that the district court did not abuse its discretion in issuing the
permanent injunction.

Mutual Service, 358 F.3d at 324-325.
Thus, in Mutual Service, the Eleventh Circuit recognized that a district court should protect the
integrity of its orders by issuing anti-suit injunctions.
In Nicor J, this Court found that the Dominican Republic proceeding was contrary to the
parties’ agreement and that the Final Arbitration Award should be confirmed. Nicor I, 292 F.
Supp.2d at 1367 and 1371. The only purpose of Nicor and Carib’s continued prosecution of the

Dominican Republic litigation is to circumvent this Court's ruling.

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CONCLUSION

Based upon the foregoing argument and authority, Coastal seeks the entry of a Final
Judgment that confirms the orders of the Arbitration Award as well as enjoining Nicor and Carib
from proceeding with the Dominican Republic litigation and requiring them to dismiss that
litigation.

Respectfully submitted,

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I HEREBY CERTIFY that a true copy of the foregoing was served by facsimile
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transmission and U.S. mail this 7* day of December, 2004, to: David I. Katzman, Esq..,

Schaden, Katzman, Lampert & McClune, 100 West Big Beaver Road, Suite 130, Troy, Michigan

LUIS M. O'NAGATEN

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EXHIBIT “1”
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CASE NO. 02-21769-CIV-MAR]
MAGISTRATE JUDGE SELTZER
NICOR INTERNATIONAL CORPORATION
and CONSULTORES DE LA CUENCA DEL
CARIBE a/k/a CARIB CONSULT,

Plaintiffs,
Vv.

EL PASO CORPORATION f/k/a OCEANO
CORPORATION or THE COASTAL
CORPORATION (later THE EL PASO
ENERGY CORPORATION),

Defendants.

COASTAL’S MEMORANDUM IN SUPPORT OF
ITS MOTION FOR ENTRY OF PERMANENT INJUNCTION

Counter-plaintiff, The Coastal Corporation (hereinafter ‘“Coastal’), files this
memorandum pursuant to this Court's Order on Counter-plaintiff/defendant's Emergency Motion
for Entry of Judgment entered on May 25, 2004 (the "Order") and this Court’s June 15, 2004
Order Adopting Proposed Briefing Schedule. In this memorandum Coastal provides support for
its request that the final judgment in this matter contain a permanent injunction restraining
counter-defendants Nicor International Corporation ("Nicor") and Consultores de la Cuenca del

Caribe ("Carib") from continuing with the Dominican Republic litigation.’

 

'  Coastal’s request for a permanent injunction is contained in the addendum clause to Count I of its counterclaim

as well as in its Emergency Motion for Entry of Judgment filed on December 12, 2003 (the “Emergency

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PRELIMINARY STATEMENT

This Court has twice ruled that Coastal is entitled to summary judgment on its claim
seeking confirmation of the Final Arbitration Award dated August 13, 2001.2 See Nicor
International Corporation, et al. v. El Paso Corporation, 292 F. Supp.2d 1357 (S.D. Fla. 2003)
(Nicor I) and Nicor International Corporation, etal. v. El Paso Corporation, 2004 W.L.
1161842 (S.D. Fla. May 25, 2004) (Nicor I). Eleventh Circuit precedent provides, and this
Court has explicitly recognized, that upon the entry of a judgment on the merits a federal district
court may enjoin parallel foreign litigation so as to protect the integrity of its orders. It has also
been held that an anti-suit injunction is appropriate in order to protect important public policy
interests of the forum.

Counter-defendants continued prosecution of the Dominican Republic litigation is in
deliberate and flagrant disregard of this Court’s decision confirming the Final Arbitration Award.
Nicor and Carib are simply attempting to circumvent this Court's ruling that Coastal did not
breach the Professional Services Agreement and that counter-defendants’ prosecution of the
Dominican Republic litigation is a breach of that agreement rendering them liable in damages to
Coastal. In order to protect the integrity of this Court's ruling, it should issue a final judgment

which enjoins Nicor and Carib from proceeding with the Dominican Republic litigation. Mutual

 

Motion”). The Court’s Order sought direction on how it should handle Coastal’s request for a permanent
injunction and any other remaining issues. Because the Court has already granted summary judgment
confirming the Final Arbitration Award this memorandum shall not address the issue of damages to which
Coastal is entitled but only the issues raised by the request for permanent injunction. All other issues were fully
addressed by Coastal in its Emergency Motion. Coastal seeks the entry of a final judgment in the form attached
as Exhibit 1.

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The Final Arbitration Award was issued by the International Court of Arbitration ("ICA") of the International
Chamber of Commerce ("ICC") in the arbitration case styled The Coastal Corporation (USA) v. Nicor
International Corporation (Panama) and Consultores de la Cuenca del Caribe, S.A. a/k/a Carib Consult
(Dominican Republic), Case No. 10681/KGA.

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Service Insurance Company v. Frit Industries, Inc., 358 F.3d 1312, 1324-1325 (1 1"" Cir. 2004).
In addition, such a permanent injunction is necessary to protect Florida's strong public policy in
favor of arbitration. Laker Airways, Ltd. v. Sabena Belgium World Airlines, 731 F.2d 909, 931

(D.C. Cir. 1984).

PROCEDURAL AND FACTUAL BACKGROUND

The Court set forth the relevant facts in this case in Nicor I, This section shall only
highlight the facts relevant to the issuance of injunctive relief sought herein. Unless otherwise
noted the facts are derived from the Nicor J decision.

On January 22, 1993, Coastal and Nicor entered into a Professional Services Agreement
("PSA") under which Nicor agreed to provide prospective consulting services to Coastal. The
PSA contains the following arbitration provision:

Any dispute arising in connection with this Agreement shall be
finally settled under the Rules of Conciliation and Arbitration of
the International Chamber of Commerce by a single arbitrator
appointed in accordance with said Rules. The arbitration

proceeding shall take place in the City of Dallas, Texas, U.S.A.
and be conducted in English.

PSA 46.

By letter dated August 9, 1995, Nicor asserted that Coastal was in breach of the PSA. On
August 18, 1995, Nicor presumably assigned its rights under the PSA to Carib. On
September 29, 1995, Carib filed suit in the Dominican Republic against Coastal based on the
alleged breach of the PSA.

Although the trial court in the Dominican Republic first ruled that it did not have

jurisdiction to hear and decide the lawsuit because of the agreement to arbitrate, the Dominican

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Republic Appellate Court "repealed" the lower court's judgment based, in part, on its finding that
Coastal had "renounced" arbitration.

On October 4, 1999, Coastal submitted a Request for Arbitration before the ICA of the
ICC naming both Nicor and Carib as respondents. The Request for Arbitration dealt with
identical issues raised in the Dominican Republic litigation. On December 14, 2000, the
arbitrator entered an Award on Jurisdiction finding that Coastal had not waived its rights to
arbitrate and that it had jurisdiction to hear the parties' dispute. On August 13, 2001, the
arbitrator issued a Final Award finding in favor of Coastal on all issues with respect to the
claimed breach of the PSA.

On September 6, 2001, the Dominican Republic Court of Appeals issued a "sentence" in
favor of Nicor wherein the Court declared that Coastal had breached the PSA and was liable for
unspecified damages arising out of the breach.

Nicor and Carib subsequently instituted the instant action seeking to "domesticate" the
Dominican Republic sentence as well as alleging numerous causes of action sounding in tort as
well as a Florida RICO violation. Coastal immediately answered and filed a counterclaim
seeking confirmation of the arbitration award. Coastal then moved for summary judgment on all
of Nicor and Carib's claims as well as for summary judgment on its claim to confirm the
arbitration award. On November 24, 2003, this Court granted Coastal's motions for summary
judgment. See Nicor I.

Despite the Nicor I decision, Nicor and Carib have continued to prosecute the Dominican
Republic litigation. On December 12, 2003, Coastal moved for the entry of a judgment seeking

a permanent injunction restraining Nicor and Carib from proceeding with the Dominican

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Republic litigation. On May 25, 2004, this Court denied counter-defendants’ motion for
reconsideration (Nicor II) and entered the Order so that Nicor and Carib would have notice of the

claim for permanent injunction and have an opportunity to address the issue.

ARGUMENT

COASTAL IS ENTITLED TO AN
INJUNCTION PROHIBITING NICOR AND CARIB FROM
PROCEEDING WITH THE DOMINICAN REPUBLIC LITIGATION

A. The Court is Authorized to Enter a Permanent Injunction.

Under the All Writs Act, “the Supreme Court and all courts established by Act of
Congress may issue all writs necessary or appropriate in aid of their respective jurisdictions and
agreeable to the usages and principles of law." 28 U.S.C.A. § 1651(a) (2002). The Act
empowers district courts to enjoin persons subject to their jurisdiction from prosecuting foreign
suits. Commercializadora Portimex, S.A. v. Zen-Noh Grain Corp., 202 W.L. 31697710 (E.D.
L.A. Dec. 3, 2002). It is well settled among the circuits which have reviewed the grant of an
anti-suit injunction that federal courts have the power to enjoin persons subject to the jurisdiction
from prosecuting foreign suits. Mutual Service, supra; Laker Airways, supra; Kaepa, Inc. v.
Achilles Corp., 76 F.3d 624 5" Cir. 1996); Gau Shan Co., Ltd. v. Bankers Trust Co., 956 F.2d
1349 (6" Cir. 1992); China Trade & Development Corp. v. MV. Choong Yong, 837 F.2d 33 (2"
Cir. 1987); Seattle Totems Hockey Club, Inc. v. National Hockey League, 652 F.2d 852 (9" Cir.
1981) (cert. denied), 457 U.S. 1105, 102 Sup. Ct. 2902, 73 L. Ed.2d 1313 (1982). Indeed, this
Court in its Order explicitly recognized the Court's inherent authority to issue such an injunction

when it stated:

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Additionally, the fact that the Final Arbitration Award did not
award injunctive relief to Coastal is of no moment since the Court
has the inherent authority to enjoin parties from pursuing litigation
in a foreign tribunal in appropriate circumstances. (citing Mutual
Service, supra, and Laker Airways, supra.)

Order, p.2
In the seminal case on the issue, Laker Airways, the D.C. Circuit identified two
circumstances where injunctions are appropriate: (1) in order to protect the jurisdiction of the
enjoining court, or (2) to prevent a litigant's evasion of the important public policies of the
forum. Laker Airways, 731 F.2d at 927. Both circumstances are here present and militate in
favor of an injunction.
B. The Injunction is Necessary to Protect the Integrity of this Court's Order.
With respect to the protection of jurisdiction, the Laker Airways court recognized that the
request for an anti-suit injunction may arise either before or after a judgment has been entered in
a case. In that regard, the court concluded that:
The policies that guide the exercise of discretion vary slightly in
each situation. When the injunction is requested after a previous
judgment on the merits, there is little interference with the rules
favoring parallel proceedings in matters subject to concurrent
jurisdiction. Thus, a court may fully protect the integrity of its

judgments by preventing their evasion through vexatious or
oppressive relitigation. (emphasis added.)

Laker Airways, 731 F.2d 927-928.
It is exactly this policy that the Eleventh Circuit cited in Mutual Service when it affirmed
the issuance of an anti-suit injunction after the entry of a judgment. The Mutual Service case
involved an insurance claim in which the issue of the duty to defend was being litigated. Certain

foreign insurers were litigating the identical issue with respect to identical parties on the Isle of

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Man. After the district court issued its final ruling on the issue of the duty to defend, plaintiffs
requested that the foreign insurers be permanently enjoined from continuing to litigate that issue
on the Isle of Man. In affirming the district court's grant of an anti-suit injunction, the Eleventh
Circuit stated:

The district court issued the injunction after it issued its opinion on

the duty to defend the issue. Abstention at this point would be

illogical, because the district court had already issued a binding

decision on the same issue Inter-Industry was trying to litigate in
the Isle of Man.

. In this case, the "only conceivable benefit that [the foreign
defendants] would reap if the district court's injunction were
overturned would be the right to attack the pending United States
action in a foreign court." Laker Airways, 731 F.2d at 915. We
hold that the district court did not abuse its discretion in issuing the
permanent injunction.

Mutual Service, 358 F.3d at 324-325.
Thus, in Mutual Service, the Eleventh Circuit recognized that a district court should protect the
integrity of its orders by issuing anti-suit injunctions.

In Nicor I, this Court found that the Dominican Republic proceeding was contrary to the
parties’ agreement and that the Final Arbitration Award should be confirmed. Nicor J, 292 F.
Supp.2d at 1367 and 1371. The only purpose of Nicor and Carib’s continued prosecution of the
Dominican Republic litigation is to circumvent this Court's ruling. Under these circumstances it
is appropriate to enter an anti-suit injunction. See Mutual Service, supra. See also, Four Seasons
Hotels and Resorts vy. Consorcio Barrsa, 267 F. Supp.2d 1335 (S.D. Fla. 2003) (Judge Moore

enters an anti-suit injunction preventing foreign litigation upon confirming an arbitration award).

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C, The Injunction is Necessary to Protect Florida’s Public Policy Favoring Arbitration.

In Laker Airways the D.C. Circuit also concluded that "anti-suit injunctions are also
justified when necessary to prevent litigant's evasion of a forum's important public policies."
Laker Airways, 731 F.2d at 931. As an example, Laker Airways identified that an anti-suit
injunction would be appropriate if the primary purpose of the foreign action is to avoid the
regulatory effect of the domestic forum's statutes. Laker Airways, 731 F.2d at 932, fn. 73. Laker
Airways went on to find that when considering the factor of public policy:

The only guideline which emerges is the necessity of evaluating
the merits of each claim in light of particular equitable
circumstances surrounding the dual litigation. ... An impermissible
evasion is much more likely to be found when the party attempts to
elude compliance with a statute of specific applicability upon
which the party seeking an injunction may have relied, and which
is designated to effectuate important state policies.

Lake Airways, 731 F.2d at 932, fn. 73.

The Court should enjoin Nicor and Carib from proceeding with the Dominican Republic
litigation in order to protect Florida's strong public policy in favor of arbitration. In Nicor II, this
Court recognized that "there is a strong public policy in the State of Florida in favor of
arbitration in a means of settling disputes (citations omitted)." Nicor [/ at *3. Furthermore, this
Court recognized that:

The decision by the court of the Dominican Republic which
Plaintiffs asked this Court to recognize is antithetical to the strong
public policy in the State of Florida favoring arbitration. ... The
decision of the Dominican court to find a waiver of arbitration
based on an insubstantial set of facts imbued with uncertainty
was contrary and offensive to Florida's strong public policy to
resolve all doubts about waiver in favor of arbitration, (emphasis
added)

Nicor II at *4.

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Nicor and Carib's insistence on continuing to litigate in the Dominican Republic is in
deliberate disregard of Florida’s strong policy consideration favoring arbitration. Indeed,
Coastal relied on the policy favoring arbitrations when it entered into the PSA and agreed to the
arbitration provision. It is exactly this type of public policy consideration that militates in favor

of granting an anti-suit injunction. Laker Airways, supra.

CONCLUSION

Based upon the foregoing argument and authority, Coastal seeks the entry of a Final
Judgment that confirms the orders of the Arbitration Award as well as enjoining Nicor and Carib
from proceeding with the Dominican Republic litigation and requiring them to dismiss that
litigation.

Respectfully submitted,

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GREENBERG TRAURIG, P.A.
Case 1:02-cv-21769-KAM Document 105 Entered on FLSD Docket 12/06/2004 Page 18 of 83

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true copy of the foregoing was served by facsimile
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transmission and U.S. mail thiss¥ day of June, 2004, to: David I. Katzman, Esq., Schaden,

Katzman, Lampert & McClune, 100 West Big Beaver Road, Suite 130, Troy, Michigan 48084.

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LUIS M. O'NAGATYN

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EXHIBIT “1”
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

FORT LAUDERDALE DIVISION

CASE NO. 02-21769-CIV-MARRA
MAGISTRATE JUDGE SELTZER

NICOR INTERNATIONAL CORPORATION
and CONSULTORES DE LA CUENCA DEL
CARIBE a/k/a CARIB CONSULT,

Plaintiffs,
V.

EL PASO CORPORATION f/k/a OCEANO
CORPORATION or THE COASTAL
CORPORATION (later THE EL PASO
ENERGY CORPORATION),

Defendants.

 

FINAL JUDGMENT

THIS ACTION came on for summary judgment hearing before the Court, the Honorable
Kenneth A. Marra, District Judge, presiding, and the issues having been duly heard and a
decision having been duly rendered, it is

ORDERED and ADJUDGED that:

1. Plaintiffs, Nicor International Corporation (“Nicor”) and Consultores de la
Cuenca del Caribe a/k/a Carib Consult (“Carib”) take nothing by this action and that the Second
Amended Complaint be dismissed on the merits.

2. That counter-defendant, El Paso Corporation or The Coastal Corporation

(“Coastal”) is entitled to the following:
Case 1:02-cv-21769-KAM Document 105 Entered on FLSD Docket 12/06/2004 Page 21 of 83

CASE NO. 02-21 769-CIV-MARRA

(a) That the Final Arbitration Award issued on August 13, 2001 in the matter
styled The Coastal Corporation (USA) v. Nicor International Corporation (Panama), and
Consultores de la Cuenca del Caribe, S.A., aka Carib Consult (Dominican Republic),
International Court of Arbitration, Case No. 10681/KGA, attached to this order as Exhibit “1”,
is hereby confirmed and is to be treated as a judgment of this Court;

(b) That Coastal recover forthwith from defendants Nicor and Carib, jointly
and severally, the sum of $865,218.85, with interest thereon at the annual rate of 1.37% and its
costs of the action, all for which let execution issue;

(c) That Nicor and Carib are permanently restrained from continuing to
prosecute or take any action with respect to the Dominican Republic litigation except that they
are mandated to immediately dismiss all legal claims either have presented in the Dominican
Republic courts.

DATED at Fort Lauderdale, Florida, this _ day of July, 2004.

 

CLERK OF COURT

Copies furnished to:

Pedro J. Martinez-Fraga, Esq.
Luis M. O’Naghten, Esq.
David I. Katzman, Esq.

John McClune, Esq.
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EXHIBIT “2”
. Case 1:02-cv-21769-KAM Document 105 Entered on FLSD Docket 12/06/2004 Page 23 of 83

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

FORT LAUDERDALE DIVISION

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MAGISTRATE JUDGE cL TIE:
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NICOR INTERNATIONAL CORPORATION Cot Zz \
and CONSULTORES DE LA CUENCA DEL . eS - \
CARIBE a/k/a CARIB CONSULT, os Pa ~ 3
Py Ax — oS

Plaintiffs,
V.

EL PASO CORPORATION f/k/a OCEANO
CORPORATION or THE COASTAL
CORPORATION (later THE EL PASO
ENERGY CORPORATION),

Defendants.

 

COASTAL’S REPLY MEMORANDUM IN SUPPORT OF
ITS MOTION FOR ENTRY OF PERMANENT INJUNCTION

Counter-plaintiff, The Coastal Corporation (hereinafter “Coastal”), files this reply
memorandum in further support of its request that the final judgment in this matter contain a
permanent injunction restraining counter-defendants Nicor International Corporation ("Nicor")
and Consultores de la Cuenca del Caribe ("Carib") from continuing with the Dominican
Republic litigation.

PRELIMINARY STATEMENT

Nicor and Carib’s response fails to address the fundamental premise of Coastal’s motion
seeking entry of a permanent injunction: that the Court must enter an injunction in order to

protect the integrity of its ruling on the merits in this case. As noted in Coastal’s initial

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NOG?
. Case 1:02-cv-21769-KAM Document 105 Entered on FLSD Docket 12/06/2004 Page 24 of 83

memorandum, counter-defendants continue to prosecute the litigation in the Dominican Republic
seeking the entry of a final judgment awarding damages against Coastal despite this Court’s
ruling confirming the Final Arbitration Award finding that Coastal did not breach the
Professional Service Agreement and that Nicor did breach the PSA. Eleventh Circuit precedent
provides, and this Court has explicitly recognized, that upon the entry of a judgment on the
merits a federal district court may enjoin parallel foreign litigation so as to protect the integrity of
its orders.

In an ostrich-like manner, counter-defendants’ response in opposition to the entry of a
permanent injunction ignores this Court’s rulings on the merits confirming the Final Arbitration
Award.' Instead, in what appears to be a summer rerun of an already canceled series, counter-
defendants argue, for the third time, that the doctrines of abstention and comity are somehow
applicable, this time mandating that this Court deny Coastal’s request for a permanent injunction.
However, the Eleventh Circuit ruled in Mutual Service Insurance Company v. Frit Industries,
Inc., 358 F.3d 1312, 1324 (11" Cir. 2004) that the doctrine of abstention is inapplicable once a
ruling on the merits has been reached. Counter-defendants’ memorandum in opposition to
Coastal’s motion is simply unresponsive to the arguments set forth Coastal’s memorandum in
support of its motion for permanent injunction. In order to protect the integrity of this Court’s
rulings, a permanent injunction must be entered restraining counter-defendants from continuing

with the Dominican Republic litigation.

 

This Court has twice ruled that Coastal is entitled to summary judgment on its claim seeking confirmation of the
Final Arbitration Award dated August 13, 2001. See Nicor International Corporation, etal. y. El Paso
Corporation, 292 F, Supp.2d 1357 (S.D. Fla. 2003) (Nicor I and Nicor International Corporation, etal. y. El
Paso Corporation, 2004 W.L. 1161842 (S.D. Fla. May 25, 2004) (Nicor I).

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ARGUMENT

A. The Court is Authorized to Enter a Permanent Injunction.

Counter-defendants’ response appears to begin with the astounding proposition that the
injunction should not be granted because this Court does not have the competence to enter such
an injunction. Counter-defendants’ base such an argument on the following arguments: (1) the
Final Arbitration Award did not issue an injunction, (2) such an injunction would violate federal
law of abstention, and (3) that counter-defendants are, somehow, not subject to the Court’s
jurisdiction. Counter-defendants are wrong.

The Court has already ruled that simply because the final arbitration award does not
contain an injunction does not prevent this Court from issuing an injunction.

Additionally, the fact that the Final Arbitration Award did not
award injunctive relief to Coastal is of no moment since the Court
has the inherent authority to enjoin parties from pursuing litigation
in a foreign tribunal in appropriate circumstances. (citing Mutual

Service, supra, and Laker Airways, Ltd. v. Sabena Belgium World
Airlines, 731 F.2d 909, 931 (D.C. Cir. 1984).)

Order on  Counter-plaintiff/defendant’s Emergency
Motion for Entry of Judgment, dated May 25, 2004 , p.2

There is ample authority supporting this Court’s statement. See All Writs Act, 28 U.S.C.A.
§ 1651(a) (2002) (“the Supreme Court and all courts established by Act of Congress may issue
all writs necessary or appropriate in aid of their respective jurisdictions and agreeable to the
usages and principles of law."). See also Mutual Service, supra; Laker Airways, supra; Kaepa,
Inc. y. Achilles Corp., 76 F.3d 624 5" Cir. 1996); Gau Shan Co., Ltd. v. Bankers Trust Co., 956

F.2d 1349 (6" Cir. 1992); China Trade & Development Corp. v. M.V. Choong Yong, 837 F.2d 33

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(2"™ Cir. 1987); Seattle Totems Hockey Club, Inc. v. National Hockey League, 652 F.2d 852 ("
Cir. 1981) (cert. denied), 457 U.S. 1105, 102 Sup. Ct. 2902, 73 L. Ed.2d 1313 (1982).

With respect to counter-defendants’ assertion that the Court does not have jurisdiction
over Nicor and Carib to enter a preliminary injunction, nothing more need be mentioned other
than the fact that Nicor and Carib filed this action and took advantage of the Court’s jurisdiction
to assert their claims. It is beyond cavil that a party who subjects himself to the jurisdiction of a
court, even where he would not otherwise be subject to suit, becomes subject to any valid claim
asserted against him. Hoxsey v. Hoffpauir, 180 F.2d 84 (5"™ Cir. 1950).? Counter-defendants
simply can not invoke the jurisdiction of the Court to domesticate an order obtained in the
Dominican Republic litigation but remain immune from the jurisdiction of the Court when the
Court issues a ruling on a compulsory counter-claim.

B. Nicor’s and Carib’s Response Ignores the Case Law Regarding Permanent
Injunctions

In arguing against the imposition of a permanent injunction, counter-defendants fail to
address the central issue presented to the Court: whether a permanent injunction is appropriate
in this instance because the Court has granted the motion for summary final judgment confirming
the Final Arbitration Award. As set forth in Coastal’s initial memorandum, the Laker Airways
court recognized that the request for an anti-suit injunction may arise either before or after a

judgment has been entered in a case. In that regard, the court concluded that:

 

2 In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the Eleventh Circuit adopted as
binding precedent all decisions of the former Fifth Circuit handed down prior to October 1, 1981.

4

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The policies that guide the exercise of discretion vary slightly in
each situation. When the injunction is requested after a previous
judgment on the merits, there is little interference with the rules
Savoring parallel proceedings in matters subject to concurrent
jurisdiction. Thus, a court may fully protect the integrity of its
judgments by preventing their evasion through vexatious or
oppressive relitigation. (emphasis added.)

Laker Airways, 731 F.2d 927-928.

The Eleventh Circuit in Mutual Service recognized the distinction and stated:
The district court issued the injunction after it issued its opinion
on the duty to defend the issue. Abstention at this point would be
illogical, because the district court had already issued a binding

decision on the same issue Inter-Industry was trying to litigate in
the Isle of Man.

. In this case, the "only conceivable benefit that [the foreign
defendants] would reap if the district court's injunction were
overturned would be the right to attack the pending United States
action in a foreign court." Laker Airways, 731 F.2d at 915. We
hold that the district court did not abuse its discretion in issuing the
permanent injunction. (emphasis added.)

Mutual Service, 358 F.3d at 324-325.

Counter-defendants do not address this distinction. Instead, the cases discussed in
counter-defendants’ response involve preliminary injunctions sought well before a decision on
the merits has been reached by a district court, not permanent injunctions after a decision on the
merits. Western Elec. Co. v. Milgo Elec. Corp., 450 F.Supp. 835 (S.D. Fla. 1975) (decision
regarding the appropriateness of a preliminary injunction); China Trade & Development Corp. v.
M.V. Choong Yong, 837 F.2d 33 (2 Cir. 1987) (same); Gau Shan Co., Ltd. v. Bankers Trust
Co., 956 F.2d 1349 (6™ Cir. 1992) (same); Cryomedics v. Frigitronics of Conn., Inc., 1977 W.L.
22807 (D. Conn. 1977) (decision regarding appropriateness of injunctive relief prior to decision

on the merits).

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Counter-defendants also cite Brinco Mining, Ltd. v. Federal Ins. Co., 552 F. Supp. 1233
(D. D.C. 1982), Boushel v. Toro Co., 985 F.2d 406 (3 Cir. 1993), and Posner v. Essex Ins. Co.,
Ltd., 178 F.3d 1209 (11" Cir. 1999) but these cases have even less application to the instant
motion than the previous cases discussing preliminary injunctions. These cases involve U.S.
district courts staying lawsuits pending before them in favor of allowing foreign proceedings to
continue. This Court has already granted summary judgment in this matter; the Brinco, Boushel,
and Posner decisions are simply irrelevant to the issue before the Court. Counter-defendants’
reliance on Turner Entertainment Co. v. Degeto Film GmbH, 25 F.3d 1512 (1 1" Cir. 1994) is
equally irrelevant for these same reasons. Moreover, the continued reliance on the abstention
doctrine by counter-defendants is misplaced given the Eleventh Circuit’s ruling, quoted earlier,
that abstention after a decision on the merits would simply be illogical. Mutual Service, 358
F.3d at 324-325 (“The district court issued the injunction after it issued its opinion on the duty to
defend the issue. Abstention at this point would be illogical, because the district court had
already issued a binding decision on the same issue ...”).

In Nicor I, this Court found that the Dominican Republic proceeding was contrary to the
parties’ agreement and that the Final Arbitration Award should be confirmed. Nicor J, 292 F.
Supp.2d at 1367 and 1371. MNicor I reaffirmed this decision. Nicor and Carib’s continued
prosecution of the Dominican Republic litigation is intended to circumvent this Court's ruling.
The Court should enter a permanent injunction mandating counter-defendants to cease all such
activities in the Dominican Republic in order to protect the integrity of its order as well as

Florida’s important public policy concern favoring arbitrations. See Mutual Service, supra.,

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Laker Airways, supra. Counter-defendants have provided no basis for denying the motion
seeking a permanent injunction.
C. There is no basis to contest the Arbitrator’s award
In its Order on counter-plaintiff/defendant's Emergency Motion for Entry of Judgment
entered on May 25, 2004, the Court expressly stated that
The Court notes that it has already granted summary judgment
confirming the Final Arbitration Award, and thus Nicor and

Carib’s argument concerning the propriety of the award of costs
and fees granted by the Sole Arbitrator is untimely.

Order, p.2.

Despite this Court’s admonition that the argument regarding attorneys’ fees and costs is
untimely, counter-defendants nonetheless argue that there exists no legal authority for the Sole
Arbitrator to have awarded costs and attorney’s fees.’

However, the award of damages in the Final Arbitration is amply supported by legal
authority. With respect to the attorneys’ fees and costs awarded by the Sole Arbitrator, it must
be noted that the damages awarded are in two categories: (1) attorneys’ fees and costs incurred
by Coastal in the Dominican Republic litigation and (2) costs of arbitration. With respect to the
first category of damages, the arbitrator ruled that Coastal’s damages resulting from Nicor and
Carib’s breach of the PSA were the fees incurred in defending the frivolous suit in the
Dominican Republic:

To the extent that the Sole Arbitrator has already held in the Partial

Award with respect to jurisdiction that the PSA included a valid
and enforceable arbitration agreement, the domestic proceedings

 

In addition to asserting a lack of legal authority, in footnote 3 of their response, counter-defendants make the
additional argument that the arbitration was improper due to bias. In this regard, for the first time, counter-
defendants make the outlandish (and offensive) statement that the arbitrator “‘tactually counseled Coastal during
the paper arbitration.” This statement is made without any citation to record evidence and is untrue.

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initiated and followed by Respondents constitute a breach of the
duty to arbitrate, as set forth in Section 6 if the PSA. Further,
Coastal has prevailed in its claims in this arbitration. The injury
Coastal has suffered as a result of Respondents’ conduct is the
costs and expenses incurred as a result of the need to litigate in
the Dominican Republic the domestic legal proceedings which
should have been submitted to arbitration. (emphasis added.)

Final Arbitration Award, 4 104

There exists ample legal authority for the Sole Arbitrator’s decision. Anchor Motor
Freight, Inc. v. Int’l. Brotherhood of Teamsters, Chauffeurs, Warehousemen & Helpers of
America, local Union No. 377, 700 F.2d 1067 (6" Cir. 1983) (allowing claim for attorneys fees
and costs as damages incurred in defending against a lawsuit that was instituted in violation of
covenant not to sue), Widner vy. Arco Oil and Gas Co., 717 F. Supp. 1211 (N.D. Tex.. 1989)
(claim for attorneys fees and costs incurred in defending wrongfully brought action allowed),
Massey v. Columbus State Bank, 35 S.W.3d 697 (Tex. App. 2000) (attorneys fees and other
litigation expenses allowed when a party is required to defend a previous lawsuit as a
consequence of a wrongful act by opposing party), /BP, Inc. v. Klumpe, 101 S.W.3d 461 (Tex.
App. 2001) (same).

With respect to the second category of damages, costs of arbitration, the Sole Arbitrator
engaged in an exhaustive analysis of the law of international arbitrations and the ability to award
such damages. See Final Arbitration Award, {{ 107-122. Based in part on Article 31 of the ICC
rules, which the parties themselves agreed to, the Sole Arbitrator awarded certain costs of

arbitration.

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CONCLUSION

Based upon the foregoing argument and authority, Coastal seeks the entry of a Final

Judgment that confirms the orders of the Arbitration Award as well as enjoining Nicor and Carib

from proceeding with the Dominican Republic litigation and requiring them to dismiss that

litigation. Coastal also seeks the final judgment to award the damages provided for in the Final

Arbitration Award.

Respectfully submitted,

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true copy of the foregoing was served by facsimile
transmission and U.S. mail this 7 day of July, 2004, to: David I. Katzman, Esq., Schaden,

Katzman, Lampert & McClune, 100 West Big Beaver Road, Suite 130, Troy, Michigan 48084.

LUIS M. O'NAGHTEN

\MIA-SRV01\712521v02

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UNITED STATES DISTRICT COURT °

SOUTHERN DISTRICT OF FLORIDA

Office of the Clerk
NOTICE OF FILING DISCREPANCY

CASENO:__ TO) DDIEA GU yin DATE: | Shy
FROM: SSA OFFICE; OR PHONE: 2U5-ERESSES

This office has received document(s) that you filed in the above referenced case. These
documents failed to comply with the filing requirements as defined in the Local Rules of this
District or the Federal Rules of Civil Procedure. As a courtesy, we have accepted these
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C) Envelopes not provided. (Local Rule 7.1.A.4)

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305-523-5200 954-769-5400 305-295-8100 561-803-3400 561-595-9691

c: Assigned District Judge

Rev. 4/17/02
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EXHIBIT “3”
; Case 1:02-cy-21769-KAM_ Document.105 Entered on FLSD Docket 12/06/2004 Page 35 of 83
|

 

Republica Dominicana

Poder Judicial

,¥0o, LUCAS A, GUZMAN L., Secretario de la Camara Civil de la Corte de Apelacién
|del Distrito Nacional, CERTIFICO: que en los archivos a mi cargo existe un
expediente civil que contiene una sentencia del tenor siguiente: SENTENCIA CIVIL

‘NO. 420 DIOS, PATRIA ¥ LIBERTAD, EN NOMBRE DE LA REPUBLICA.

EXP. CIVIL
NO.

En la ciudad de Santo Domingo, Distrito Nacional,
hoy dia 29 del mes de

capital de la Repiiblica Dominicana,
. septiembre del afio dos mil cuatro (2004); afios 161 de la

Independencia y 142 de la Restauraci6én;

LA CAMARA CIVIL DE LA CORTE DE APELACION DEL DISTRITO

NACIONAL, regularmente constituida en audiencia en la sala
Sita en la primera planta del Palacio de
Maimoén y

destinada al efecto,
| Justicia del Centro de los Héroes de Constanza,
|
compuesta por los sefliores Magistrados MANUEL

i Estero Hondo,
ALEXIS READ ORTIZ, Presidente, MARCOS ANTONIO VARGAS GARCIA,

HERMOGENES ACOSTA DE LOS
XIOMARAH ALTAGRACIA

i Primer Sustituto de Presidente;

| SANTOS, Segundo Sustituto de Presidente,

SILVA SANTOS Jueza Miembro, asistidos del infrascrito

secretario y del alguacil de estrados de turno dicta en sus

atribuciones civiles la siguiente sentencia:

SOBRE: el procedimiento de liquidaci6én de dafios y

por estado, interpuesto por la compafifa

perjuicios
(CARIB-CONSULT) ,

]
|
| CONSULTORES DE LA CUENCA DEL CARIBE, S.A.,

PDC
Case 1:02-cv-21769-KAM Document 105 Entered on FLSD Docket 12/06/2004 Page 36 of 83

 

 

| Republica Dominicana
: Poder Judicial
sociedad comercial organizada y existente de conformidad con

las leyes de la Reptblica, con domicilio y asiento social en
169, en esta ciudad,

debidamente representada por su Presidente, ING. RAFAEL E.

| la avenida Pedro Henriquez Urefia No.
| MARTINEZ CESPEDES, dominicano, mayor de edad, casado, tenedor
de la cédula de identidad y electoral No. 001-0088294-3,
domiciliado y residente en esta ciudad, la cual tiene como
abogados constituidos y apoderados especiales a los DRES.
JUAN A. FERRAND, LUIS MEDINA SANCHEZ y los LICDOS. FERNANDO
RAMIREZ SAINZ y FRANK REYNALDO FERMIN, dominicanos, mayores
| de edad, casados, titulares de las cédulas de identidad y

electorales Nos. 001-0785826-8, 001-0163531-6, 001-0101934~-7,

001-0727996-0, con estudio profesional abierto en comin en la
t
avenida Sarasota esquina Francisco Moreno, suite 302, tercera

| planta, plaza Kury, sector Bella Vista, en esta ciudad;

CONTRA: EL PASO CGP COMPANY (antes THE COASTAL
CORPORATION), sociedad comercial constituida y organizada
de acuerdo con las leyes del Estado de Delaware, Estados
Unidos de América, con sus oficinas principales en Houston,
Estado de Texas, 77046-0995, la cual tiene como abogados
constituidos y apoderados especiales a los DRES. RAMON A,
TAPIA ESPINAL, REINALDO PARED PEREZ y al LIC. MANUEL RAMON
TAPIA LOPEZ, dominicanos, mayores de edad, casados el

primero y el cuarto y solteros el segundo y el tercero,

! respectivamente, provistos de las cédulas de identidad y
electorales Nos.001-0777024-0, 001-0076067-7 y 001-0168275-

5, con estudio profesional abierto en la casa No.138-A, de

ppc 2
___Case 1:02-cv-21769-KAM_ Document.105 Entered on FLSD Docket 12/06/2004 Page 37 of 83

Republica Dominicana

: Poder Judicial

la calle Gustavo A. Mejia Ricart, ensanche Piantini, en

esta ciudad;

CONTRA: EL PASO POWER COMPANY (antes THE COASTAL POWER
!
|! COMPANY), entidad comercial organizada bajo las leyes del

Estado de Delaware, Estados Unidos de América, con oficinas

principales en 1001 Louisiana Street, Houston, TX 77002,

| Estados Unidos de América, debidamente representada por su
| Vicepresidente el sefior MARK CROKE, norteamericano, mayor
; de edad, portador del pasaporte norteamericano
No.126294914, la cual tiene como abogados constituidos y
apoderados especiales al DR. MILTON MESSINA y a los LICDOS.

| PABLO GONZALEZ TAPIA, ANA ISABEL MESSINA y ADA GARCIA

VASQUEZ, dominicanos, mayores de edad, casados los tres

primeros y soltera la Gltima, respectivamente, titulares de
las cédulas de identidad y electorales Nos.001-0974503-4,
001-0826656-0, 001-0088318-0 y 001-0077677-2, con estudio
profesional abierto en comin en la calle Fantino Falco

' No.55, ensanche Naco, en esta ciudad;

CONTRA: COMPANIA DE ELECTRICIDAD DE PUERTO PLATA, S.

A. (CEPP), entidad comercial organizada de acuerdo con las

| leyes de la Repablica Dominicana, con su domicilio social

en la avenida Winston Churchill No.77, segundo nivel del

en esta ciudad, debidamente representada
COCHON ABUD,
de

edificio Comiresa,
por su Gerente General el sefior MARCOS C.

dominicano, mayor de edad, provisto de la cédula

identidad y electoral No. 001-0000592-5, domiciliado y

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Reptblica Dominicana

Poder Judicial

residente en esta ciudad, la cual tiene como abogados
constituidos y apoderados especiales a los LICDOS. MILVIO
COISCOU y CESAR BOTELLO CARABALLO, dominicanos, mayores de
edad, casados, tenedores de las cédulas de identidad y
electorales Nos. 001-0527305-6 y 026-0065177-8, con estudio
profesional abierto en comGn en la calle Manuel Rodriguez

Objio No. 12, sector Gascue, en esta ciudad;

OIDO: al alguacil de turno en la lectura del rol;

OIDOS: a los abogados de la parte demandante concluir,
de la manera siguiente: leyeron conclusiones, las cuales
rezan: PRIMERO: COMPROBAR Y DECLARAR, que esta Honorable
Camara Civil y Comercial de la Corte de Apelacién de Santo
Domingo, en ocasi6én de un Recurso de Impugnacién o Le
Contredit, interpuesto por CONSULTORES DE LA CUENCA DEL
CARIBE, S. A., (CARIB-CONSULT), contra la Sentencia Civil de
fecha 4 de octubre del afio 1996, dictada por la Camara Civil
y Comercial de la Primera Circunscripcién del Juzgado de
Primera Instancia del Distrito Nacional, dict6é su UGltima
Sentencia Civil No. 336, de fecha 6 de septiembre del afio
2001; (...) SEGUNDO: COMPROBAR Y DECLARAR, que la Compafifa
CONSULTORES DE LA CUENCA DEL CARIBE, S. A., (CARIB-CONSULT)
en cumplimiento del ordinal CUARTO de la indicada sentencia;
y al tenor de las disposiciones del articulo 523 del Cédigo
de Procedimiento Civil, notific6é la evaluacién de los Dafios y

Perjuicios a cada una de las codemandadas, mediante acto No.

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' Poder Judicial

( 5119/2001 de fecha 13 de Diciembre del  afio 2001,
instrumentado por el Ministerial Juan David Marcial Mateo,
: Alguacil Ordinario de la Tercera Sala del Juzgado de Primera

Instancia del Distrito Nacional; TERCERO: COMPROBAR Y

DECLARAR, que mediante ese mismo acto, de fecha 13 de
diciembre del 2001, la impugnante o demandante, CONSULTORES
DE LA CUENCA DEL CARIBE, S.A., (CARIB-CONSULT), notificéd a
las codemandadas, la instancia de fecha 12 de diciembre del
2001, contentiva de los documentos y piezas justificativas de
la evaluacién de los Dafios y Perjuicios, comunicados via
secretaria, en la misma fecha; CUARTO: COMPROBAR Y DECLARAR,
que mediante el supra indicado acto de fecha 13 de diciembre

del 2001, la demandante intiméd a las codemandadas, para que

en el plazo de la octava y conforme lo prevee el articulo 524
del Cédigo de Procedimiento Civil, hicieran los
! ofrecimientos, por la suma que estas estimaran los dafios y
perjuicios; QUINTO: COMPROBAR ¥ DECLARAR, que las
codemandadas, mediante actos Nos. 687/001, 688/001 y 689/001,
de fecha 21 de diciembre del 2001, instrumentado por el
Ministerial Juan Antonio Almonte, Alguacil Ordinario de la

Segunda Sala de la Camara Penal del Juzgado de Primera

Instancia del Distrito Nacional, lejos de hacer los
ofrecimientos de las sumas en que ellas debieron estimar los

dafios y perjuicios, rechazaron la evaluacién hecha por la

demandante sobre la base de pruebas justificativas; que al
producirse la indicada negativa, y en cumplimiento de la
parte in fine del Articulo 524, del Cédigo de Procedimiento

Civil, la demandante, decidi6é llevar la discusién y solucién

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Poder Judicial

de los dafios y perjuicios a la jurisdiccién competente; EN
CONSECUENCIA y como resultado de los cAalculos desarrollados
inextenso en el informe técnico de fecha 4 de diciembre del
2001, realizado por la firma D.C.M., INGENIERIA, S.A.,
contentivo de la compensacién a que tiene derecho CARIB-
CONSULT, por los dafios y perjuicios sufrido por esta, a
consecuencia de las violaciones contractuales cometidas por
COASTAL CORPORATION y sus demas subsidiarias, tal y como
quedo sentado en la sentencia No. 336 de fecha 6 de
septiembre del 2001, CONDENEIS a THE COASTAL CORPORATION y/o
COASTAL POWER PRODUCTION COMPANY y a la COMPANIA DE
ELECTRICIDAD DE PUERTO PLATA, S. A. (CEPP), al pago inmediato
de las suma de CINCUENTA Y SIETE MILLONES, DOSCIENTOS NOVENTA
Y CUATRO MIL VEINTISEIS DOLARES AMERICANOS
(USS7,294,026.00),0 su equivalente en pesos dominicanos segin
la tasa oficial al momento de su liquidacién, monto de la
liquidaci6n a que se ha hecho referencia anteriormente, a
favor de CONSULTORES DE LA CUENCA DEL CARIBE, (CARIB-
CONSULT); SEXTO: QUE CONDENEIS a las codemandadas, al pago de
las costas del procedimiento, ordenando su distraccién en
provecho de los abogados de la demandante, quienes afirman

haberlas avanzado en su totalidad (sic);

OIDOS: a los abogados de la parte demandada EL PASO CGP
COMPANY (antes THE COASTAL CORPORATION), concluir de la
Manera siguiente: ley6 conclusiones, las cuales rezan:
PRIMERO: Librando acta a EL PASO CGP COMPANY que comparecié a

la audiencia del dia 8 de enero del 2004 ante esta honorable

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Corte de Apelacién, con el tinico propdésito de articular las
conclusiones que preceden, para evitar las consecuencias
procesales del defecto, en caso de omisién inadvertida de la
interrupcién de la presente instancia judicial; SEGUNDO:
Declarar que, a causa del fallecimiento del Dr. Ramén A.
Tapia Espinal, abogado constituido de la concluyente, la
instancia judicial qued6 interrumpida de pleno derecho; y
Declarar que la misma quedar& renovada, una vez que la
concluyente constituya nuevo abogado para asumir
adecuadamente sus medios de defensa; TERCERO: Ordenar el pago
de las costas a cargo de Carib-Consult, y prescribir su
distraccién en beneficio del abogado actuante, quien os

afirma que las avanza en su mayor parte (sic);

OfDOS: a los abogados de la parte demandada EL PASO
POWER COMPANY (antes THE COASTAL COMPANY), concluir in voce,
de la manera siguiente: se adhiere a las conclusiones del EL

PASO CGP COMPANY (sic);

OipOs: a los abogados de la parte demandada COMPANIA DE
ELECTRICIDAD DE PUERTO PLATA, S. A., concluir in-voce de la
manera Siguiente: se adhiere a las conclusiones de EL PASO

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| CGP COMPANY (sic);
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OfDOS: nuevamente a los abogados de la parte demandada
EL PASO CGP COMPANY (antes THE COASTAL CORPORATION) concluir
in-voce de la manera siguiente: plazo para referirmos al

avenir acto No. 3490/2003 de fecha 30 de diciembre de 2003 y

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para escrito ampliatorio de conclusiones (sic);

OIDOS: nuevamente a los abogados de la parte demandante
concluir in-voce de la manera siguiente: rechazar por
improcedente las pretensiones del demandado; que sea
acumulado para que sea fallado con el fondo; que se invite al

demandado a concluir al fondo (sic);

OfDA: a la Corte: se invita a la parte recurrida a
concluir sobre el fondo subsidiariamente sin que ello

implique renunciar a sus conclusiones principales (sic);

OIpos: nuevamente a los abogados de la parte demandada
EL PASO CGP COMPANY (antes THE COASTAL CORPORATION), concluir
in-voce de la manera siguiente: PRIMERO: Comprobar y declarar
(1) que por acto nimero 98/2003 de fecha trece (13) del mes
de febrero del afio dos mil tres (2003) del ministerial René
del Rosario Alcantara, EL PASO CGP COMPANY introdujo ante la
Segunda Sala de la Camara Civil y Comercial del Juzgado de
Primera Instancia del Distrito Nacional una demanda en
reconocimiento y concesién de exequatur del Laudo Arbitral de
fecha trece (13) del mes de agosto del afio dos mil uno (2001)
dictado a favor de EL PASO CGP COMPANY y en contra de la
CONSULTORES DE LA CUENCA DEL CARIBE y la NICOR INTERNATIONAL
CORPORATION, por el arbitro Eduardo T. Siqueiros, conforme
las reglas del Tribunal Arbitral de la Camara Internacional
de Comercio; (2) que dicha demanda en reconocimiento del

laudo y exequatur se encuentra en estado de fallo ante la

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Poder Judicial

citada Segunda Sala; (3) que el laudo arbitral al que se ha
hecho referencia declara y resuelve con autoridad de cosa

juzgada entre EL PASO CGP COMPANY Y CONSULTORES DE LA CUENCA

DEL CARIBE, continuadora juridica de la NICOR INTERNACIONAL
CORPORATION, entre otros asuntos: (a) En ningGn momento Nicor

fue el representante exclusivo de Coastal en la Repiiblica

Dominicana. (b) Coastal no viol6 el CSP segtin lo argumentado
por las demandadas, y por lo tanto, Coastal no adeuda a las
demandadas suma alguna de dinero como consecuencia de dichas
argumentaciones; SEGUNDO: Declarar y comprobar que el Laudo
Arbitral antes citado tiene autoridad de cosa juzgada
i vrespecto de la sentencia civil 336 dictada por esta honorable
Corte de Apelacién en fecha seis (6) de septiembre del 2001,

la cual sirve de base a la presente demanda en liquidacién de

 

dafios y perjuicios por estado, en vista de entre otras
razones: (a) porque fue dictada por la jurisdiccién arbitral
acordada por las partes en el Contrato de Servicios
Profesionales suscrito entre NICOR INTERNATIONAL CORPORATION
| y la entonces THE COASTAL CORPORATION, y que como juzgara el
| referido arbitro, fue cedido irregularmente a la impetrante
CONSULTORES DE LA CUENCA DEL CARIBE; (b) porque el lLaudo
| Arbitral no est&, como si ha sido objeto la sentencia 336
| antes referida, sujeto a ningtin recurso y conforme las reglas
| de la Camara de Comercio Internacional el mismo se impone a
la parte en contra de quien fuera dictado; (c) porque al
resolver la contestaci6én suscitada entre CONSULTORES DE LA

| CUENCA DEL CARIBE, y THE COASTAL CORPORATION, y determinar
| que esta Ultima no violé el referido Contrato de Servicios

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Profesionales, y por ende no pudo causar un daflo a
CaribConsult o a Nicor, el laudo extingue por via de
consecuencia el proceso de liquidaci6én de daflos y perjuicios
por estado que ha sido intentado por la CONSULTORES DE LA
CUENCA DEL CARIBE, obligando a esta corte a sobreseer con
caracter definitivo el proceso de que se trata; (d) porque el
Laudo Arbitral, en la primera parte de su dispositivo,
reconoce y declara una situaci6én juridica, esto es la no
violacién del contrato de servicios profesionales ni el haber
causado un dafio a CaribConsult, por lo cual dicha declaracién
se impone a la Corte aiin estando pendiente el exequatur del
laudo arbitral, al tenor de una sentencia recientisima de

nuestra Suprema Corte de Justicia, segin la cual... “las

corrientes doctrinales y jurisprudenciales del pais de origen
de nuestra legislacién sobre la materia, se definen en el
sentido casi unanime de considerar que las sentencias
| declarativas y constitutivas de derechos no necesitan el
referido exequatur... porque su ejecucién no requiere una
realizaci6én material, que reclama, generalmente, el auxilio
de la fuerza pttblica”... (Sentencia 8 mayo del 2002);
TERCERO: Por una o todas las razones antes expresadas, se
ruega a esta honorable Corte ORDENAR el sobreseimiento
definitivo del proceso de ligquidacién de dafios y perjuicios

incoado por CONSULTORES DE LA CUENCA DEL CARIBE, S. A., al

 

existir una decisién arbitral definitiva y que se impone a
las partes, segin la cual no se ha causado ningtin dafio a
CaribConsult, y por ende esta Corte ha quedado desapoderada

para evaluar los dafios y perjuicios a los que se contrae la

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' presente demanda; plazo de 15 dias (sic);

OIDOS: nuevamente a los abogados de la parte demandada
EL PASO POWER COMPANY (antes THE COASTAL COMPANY) concluir

in-voce de la manera siguiente: nos adherimos (sic);

OIDOS: nuevamente a los abogados de la parte demandada

COMPANIA DE ELECTRICIDAD DE PUERTO PLATA, S. A., concluir in-

 

voce de la manera siguiente: nos adherimos (sic);

OIDOS: nuevamente a los abogados de la parte demandante
concluir in-voce de la manera siguiente: debe ser rechazado
por intempordneo; que se acumulen los incidentes para que

sean fallados con el fondo (sic);

OIDA: a la Corte: se pone en mora a la parte recurrida
para que de manera subsidiaria concluya sobre el fondo sin
que ello implique renuncia a sus conclusiones principales

(sic);

OIDOS: nuevamente a los abogados de la parte demandada
| EL PASO CGP COMPANY (antes THE COASTAL CORPORATION) concluir

in-voce de la manera siguiente: PRIMERO: Sobreseer la

 

presente demanda hasta tanto la Segunda Sala de la Camara
Civil y Comercial del Juzgado de Primera Instancia del
Distrito Nacional juzgue sobre la peticién de reconocimiento
y exequatur del Laudo Arbitral de fecha trece (13) de agosto

del afio 2001, dictado a favor de EL PASO CGP COMPANY y en

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Republica Dominicana

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perjuicio de CONSULTORES DE LA CUENCA DEL CARIBE, a fines de
evitar contradiccién entre lo resuelto por dicha Segunda
Sala, y lo que resolverla esa honorable Corte de Apelacién;
SEGUNDO: Reservar las costas hasta tanto sea reabierto el
presente caso, en caso de no haber oposicién de la
contraparte, y en caso contrario que condenéis a CONSULTORES
DE LA CUENCA DEL CARIBE al pago de las mismas, en provecho
del abogado infrascrito quien afirma haberlas avanzado en su

totalidad (sic);

ofpOS: nuevamente a los abogados de la parte demandante
concluir in-voce de la manera siguiente: ratificamos
conclusiones sobre el fondo y solicitamos plazos para

deposité de escrito justificativo de conclusiones (sic);

OIDOS: nuevamente a los abogados de la parte demandada
EL PASO CGP COMPANY (antes THE COASTAL CORPORATION), concluir
in-voce de la manera siguiente: leyé conclusiones, las cuales
rezan: PRIMERO: Declarar radicalmente nulo, o en su defecto
irrecibible, el llamado Reporte Técnico de Indemnizacién, sin
firma, preparado para el Dr. Juan A. Ferrand, parte
interesada, supuestamente por la DCM Ingeniera, S. A. con
fecha 4 de diciembre del 2001; asi como todo el procedimiento
llevado a efecto en declaracién de dafios y perjuicios y
piezas justificativas; SEGUNDO: Ordenar a las partes en causa
proveerse como fuese de derechos; y TERCERO: Imponer las
costas a cargo de la demandante y de todo aquél que se oponga

a las presentes conclusiones, y distraerlas en beneficio de

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| Poder Judicial

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los abogados actuantes, quienes os afirman que estan

avanzandolas en su totalidad (sic);

OIDOS: nuevamente a los abogados de la parte demandada
THE PASO POWER COMPANY (antes THE COASTAL COMPANY) concluir
in-voce de la manera siguiente: nos adherimos y solicitamos

plazo (sic);

OIDOS: nuevamente a los abogados de la parte demandada
EL PASO CGP COMPANY (antes THE COASTAL CORPORATION) concluir
| in-voce de la manera siguiente: nos adherimos y solicitamos

plazo (sic);

OIDA: a la Corte: se pone en mora a la parte recurrida

para que de manera subsidiaria concluya sobre el fondo sin

 

que ello implique renuncia a sus conclusiones principales
(sic) ;

OfDOS: nuevamente a los abogados de la parte demandada
concluir in-voce de la manera siguiente: el Paso CGP Company
y Compafifta de Electricidad de Puerto Plata solicita vuestra
inhibicién y el sobreseimiento hasta tanto la Suprema Corte

de Justicia conozca la declinatoria sustentada por la

exponente (sic);

| OIDOS: nuevamente a los abogados de la parte demandante

concluir in-voce de la manera. siguiente: ratificamos
conclusiones (sic);

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OIDA: a la Corte: se libra acta de que el abogado del
recurrido, no obstante las invitaciones hecha por esta Corte
para que concluya al fondo, no la ha hecho; fallo reservado
sobre el fondo de la contestaci6én e incidente; 30 dias
simultaneos y consecutivos para escrito justificativos de
conclusiones; 30 dias simult&aneos y consecutivos para ambas

partes réplica y contrarréplica ((sic);

RESULTA: que mediante instancia depositada por ante la
Secretaria de esta Corte, en fecha 8 de marzo de 2004, la
parte demandada COMPANIA DE ELECTRICIDAD DE PUERTO PLATA, S.
A., solicité la reapertura de los debates, notificada
mediante acto No. 231/04 en fecha 4 de marzo de 2004,
diligenciado por el ministerial Ramén Pérez Ramirez, alguacil
ordinario de la Camara Penal de la Corte de Apelacién del

Distrito Nacional;

RESULTA: que mediante instancia depositada por ante la
Secretaria de esta Corte, en fecha 6 de abril de 2004, la
parte demandada EL PASO CGP COMPANY (antes THE COASTAL
CORPORATION) , solicit6 la reapertura de los’ debates,
notificada mediante acto No. 440 en fecha 25 de marzo de
2004, diligenciado por el ministerial Pedro J. Chevalier,
alguacil de estrados de la Primera Sala de la CAémara Civil y

Comercial del Juzgado de Primera Instancia del Distrito
Nacional;

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AUTOS VISTOS:
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| RESULTA: que con motivo de una DEMANDA EN REPARACION DE
DANOS Y PERJUICIOS, incoada por la compafiia CONSULTORES DE LA
, CUENCA DEL CARIBE, S.A., (CARIB-CONSULT) contra THE COASTAL
CORPORATION, COASTAL POWER PRODUCTION COMPANY y la COMPANIA
DE ELECTRICIDAD DE PUERTO PLATA, S. A. esta Corte, dict6 en
fecha 6 de septiembre de 2001, la sentencia No. 336

(expediente No. 141), cuyo dispositivo es el siguiente:

“PRIMERO: DECLARA regular y valida en
cuanto a la forma y justa en cuanto al

fondo la demanda en reparacién de dafios y

 

| perjuicios incoada por la compania
CONSULTORES DE LA CUENCA DEL CARIBE, S.
A. (CARIB CONSULT), contra THE COASTAL
CORPORATION, THE COASTAL POWER PRODUCTION
COMPANY y la COMPANTA DE ELECTRICIDAD DE
PUERTO PLATA, S. A., por haber sido hecha
de conformidad con dla ley; SEGUNDO:
DECLARA irrecibible o inadmisible la
demanda en intervencién voluntaria hecha
por la COMMONWEALTH DEVELOPMENT
CORPORATION, por los motivos dados
anteriormente; TERCERO: DECLARA regular y

valida, en cuanto a la forma, pero la

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rechaza en cuanto al fondo, por ias
razones indicadas mas arriba, la demanda
en intervencién forzosa incoada por ila
COMPANTA DE ELECTRICIDAD DE PUERTO PLATA,
S. A. (CEPP), contra la CORPORACION
DOMINICANA DE ELECTRICIDAD (Cc. D.
E.) ;CUARTO: CONDENA a THE COASTAL
CORPORATION y/o COASTAL POWER PRODUCTION
COMPANY y la COMPANTA DE ELECTRICIDAD DE
PUERTO PLATA, S. A. (CEPP), a pagar a
CONSULTORES DE LA CUENCA DEL CARIBE, S.
A. (CARIB CONSULT), una indemnizaci6én
cuyo monto debera ser liquidado por
estado, de conformidad con los articulos
523 al 525 del Cédigo de Procedimiento
Civil, en moneda nacional, por concepto
de los dafios y perjuicios originados con
la violacién y  desconocimiento del
contrato de servicios profesionales de
fecha 22 de enero de 1993, descrito mas
arriba, en otra parte de este fallo;
QUINTO: CONDENA a THE COASTAL CORPORATION
y/o COASTAL POWER PRODUCTION COMPANY y la
COMPANIA DE ELECTRICIDAD DE PUERTO PLATA,
S. A. (CEPP), al pago de los intereses
degales a partir de la demanda en
justicia, de la suma que resultare de la

liquidacién por estado de los dafios y

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perjuicios, tal y como se ha dispuesto en

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: el ordinal anterior; SEXTO: CONDENA a
| THE COASTAL CORPORATION y/o COASTAL POWER
| PRODUCTION COMPANY y la COMPANIA DE
ELECTRICIDAD DE PUERTO PLATA, S. A.
. (CEPP), al pago de las costas del
| procedimiento en favor de los DRES. JUAN
| FERRAND BARBA, LUIS A. MEDINA SANCHEZ,
| FERNANDO RAMIREZ SAINZ y REINALDO FERMIN,
| abogados, quienes han afirmado haberlas

avanzado en su totalidad” (sic);

RESULTA: que mediante instancia recibida en la
secretaria del tribunal en fecha 12 de diciembre del afio
2001, la entidad CONSULTORES DE LA CUENCA DEL CARIBE S.A.
| (CARIB-CONSULT), deposit6é6 la declaraci6én de los dafios y

perjuicios hacer liquidacién por estado;

RESULTA: que por auto del Presidente de la Corte se fij6
la audiencia del dia 31 de enero de 2002, a las nueve horas
de la manana, para conocer del procedimiento de liquidaci6n

de daflos y perjuicios por estado;

 

RESULTA: que a la audiencia efectivamente celebrada por
la Corte en fecha y hora arriba indicadas comparecieron ambas
partes debidamente representadas por sus abogados
constituidos y apoderados especiales, audiencia que culminéd
con la siguiente sentencia in-voce: la Corte ordena: se

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homologan las conclusiones de las partes y se ordena el
sobreseimiento de la presente instancia relativa al proceso
de liquidacién por estado de dafios y perjuicios en virtud de
da sentencia 336 del 6 de septiembre del 2001; hasta tanto la
Suprema Corte de Justicia conozca la demanda en suspensidén de

ejecucién de la indicada sentencia(sic);

RESULTA: que por auto del Presidente de la Corte se fij6
la audiencia del dia 13 de noviembre de 2002, a las nueve
horas de la mafiana, para conocer del proceso de liquidacién

de dafios y perjuicios por estado;

RESULTA: que a la audiencia efectivamente celebrada por
la Corte en fecha y hora arriba indicadas comparecieron ambas
partes debidamente representadas por sus abogados
constituidos y apoderados especiales, audiencia que culmin6é
con la siguiente sentencia in-voce: la Corte ordena: Primero:
Da cabal cumplimiento a las disposiciones de la sentencia de
esta Corte y mantiene el sobreseimiento hasta tanto la
Suprema Corte de Justicia decida sobre todos las demandas en
suspensién relativas a la sentencia No. 336 del 6 de
septiembre del aflo 2001; Segundo: se reservan las costas de

la presente instancia (sic);

RESULTA: que a diligencia del abogado de la parte
demandante y previo auto del Presidente de esta Corte, se
fij6 la audiencia del dia 20 de febrero de 2003, a las nueve

horas de la mafiana (9:00 a.m.), para conocer del proceso de
PDC 18
 

Republica Dominicana

Poder Judicial

liquidaci6én de dafios y perjuicios por estado;

RESULTA: que la audiencia del dia 20 de febrero de 2003,

el rol fue cancelado;

RESULTA: que por auto del Presidente de la Corte se f1ij6
la audiencia del dia 17 de diciembre de 2003, a las nueve
horas de la mafiana, para conocer del proceso de liquidacién

de dafios y perjuicios por estado;

RESULTA: que a la audiencia efectivamente celebrada por
la Corte en fecha y hora arriba indicadas comparecieron ambas
partes debidamente representadas por sus abogados
constituidos y apoderados especiales, audiencia que culmindé
con la siguiente sentencia in-voce: la Corte ordena: plazo de

15 dias entre las partes recurridas para tomar comunicaci6én

de documentos (sic);

RESULTA: que por auto del Presidente de la Corte se fij6
la audiencia del dia 8 de enero de 2004, a las nueve horas de
la maflana, para conocer del proceso de liquidaci6én de dafios y

perjuicios por estado;

RESULTA: que a la audiencia efectivamente celebrada por
la Corte en fecha y hora arriba indicadas comparecieron ambas
partes debidamente representadas por sus abogados

constituidos y apoderados especiales, audiencia que culminé

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Republica Dominicana

Poder Judicial

con la siguiente sentencia in-voce: la Corte ordena: fallo

reservado sobre el fondo de la contestaci6én e incidentes; 30
dias simultaneos y consecutivos para escrito justificativo de

conclusiones; 30 dias simultaneos y consecutivos para ambas

| partes réplica y contrarréplica (sic);

VISTO: el documento depositado bajo inventario en la
Secretaria de esta Corte por los abogados de la parte
demandante, en fecha 19 de septiembre de 2002, a cuyo tenor,

la pieza depositada es, a saber:

UNICO: Resoluci6én No. 1025-2002, de fecha 2 del mes de

Julio del afio 2002, dictada por EL Pleno de la Suprema Corte

de Justicia del Distrito Nacional (sic);

VISTO: el documento depositado bajo inventario en la
Secretaria de esta Corte por los abogados de la parte

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| demandante, en fecha 8 de noviembre de 2002, a cuyo tenor, la

pieza depositada es, a saber:

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UNICO: Informe de fecha 4 de Enero del afio 2002, de la
compafiia D C M INGENIERIA, S. A., sobre reporte técnico
hecho a requerimiento de la compafifa Consultores de la
Cuenca del Caribe, S. A., en base a la Sentencia Civil No.
336, de fecha 6 de Septiembre del afio 2001, dictada por la

Camara Civil y Comercial de la Corte de Apelacién de Santo

Domingo (sic);
PDC 20
 

 

 

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Republica Dominicana

Poder Judicial

VISTOS: los documentos depositado bajo inventario en la
Secretaria de esta Corte por los abogados de la parte
demandante, en fecha 21 de agosto de 2003, a cuyo tenor,

las piezas depositadas son, a saber:

1. Original de la Resolucioén No. 1233-2003, de fecha Diez
y Siete (17) del mes de Junio del afio Dos Mil Tres
(2003), donde Declara Inadmisible la solicitud de
suspensién de la Ejecucién de la Sentencia dictada por
la Camara Civil y Comercial de la Corte de Apelacion de
Santo Domingo, el 6 de Septiembre del 2001, por
tratarse de una suspensién sobre suspensién, expedida
por la Suprema Corte de Justicia de esta ciudad de
Santo Domingo, debidamente Certificada en fecha Cinco

(5) del mes de Agosto del afio Dos Mil Tres (2003);

2. Original de la Resolucién No. 1234-2003, de fecha Diez
y Siete (17) del mes de Junio del afio Dos Mil Tres
(2003), donde Declara Inadmisible la solicitud de
suspensién de la Ejecuci6én de la Sentencia dictada por
la Camara Civil y Comercial de la Corte de Apelacién de
Santo Domingo, el 6 de Septiembre del 2001, por
tratarse de una suspensién sobre suspensién, expedida
por la Suprema Corte de Justicia de esta ciudad de
Santo Domingo, debidamente Certificada en fecha Cinco
(5) del mes de Agosto del afio Dos Mil Tres (2003)

(gic);

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Republica Dominicana

Poder Judicial

VISTOS: los documentos depositado bajo inventario en la
Secretaria de esta Corte por los abogados de la parte co-
demandada, EL PASO CGP COMPANY (antes THE COASTAL
CORPORATION) en fecha 6 de enero de 2004, a cuyo tenor, las

piezas depositadas son, a saber:

1. Copia del Laudo Arbitral No. 10681/KGA de fecha
trece (13) de agosto del 2001 adoptado por el
Tribunal Arbitral Internacional de la Camara de
Comercio Internacional con sede en Paris,
Francia debidamente certificado por el Director
Legal de dicho tribunal, sefior Emmanuel Jolivet,
y autenticado debidamente por el Consulado
Dominicano en Paris, por medio del cual se
rechaza, entre otras, la demanda en dafios y
perjuicios intentada por CONSULTORES DE LA
CUENCA DEL CARIBE, C. POR A., contra EL PASO CGP
COMPANY ;

2. Traducci6én oficial del Laudo Arbitral referido
en el numeral 1 del presente inventario, a cargo
de la Intérprete Judicial del Juzgado de Primera
Instancia del Distrito Nacional, Lic. Clara de
la Cruz Veras;

3. Copia de la Instancia en Solicitud de
Otorgamiento de Exequatur a la Sentencia
Arbitral Extranjera referida en el ordinal 1 del

presente inventario, depositada por EL PASO CGP

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Republica Dominicana

Poder Judicial

COMPANY en fecha diecinueve (19) de julio del
afio 2002 por ante el Juez Presidente de la
Camara Civil y Comercial del Juzgado de Primera
Instancia del Distrito Nacional;

4. Copia de la Certificaci6én expedida en fecha doce
(12) del mes de noviembre por la Secretaria de
la Camara Civil y Comercial de la Segunda Sala
del Juzgado de Primera Instancia del Distrito
Nacional por la cual certifica la existencia de
una demanda en otorgamiento de exequatur sobre
el laudo arbitral referido en el numeral 1 del
presente inventario;

5. Copia del sentencia civil ntmero 200-0350-2509,
dictada por el Juez Presidente de la Camara
Civil y Comercial de la Segunda Sala del Juzgado
de Primera Instancia del Distrito Nacional, por
el cual ordena que el procedimiento de exequatur
referido en el presente inventario sea llevado
por la via contradictoria;

6. Copia del Acto ntimero 98/2003 del ministerial
René del Rosario Alcantara, de Estrados de la
Camara Civil y Comercial de la Segunda Sala del
Juzgado de Primera Instancia del Distrito
Nacional por el cual EL PASO CGP COMPANY demanda
por la via contenciosa a CONSULTORES DE LA
CUENCA DEL CARIBE, Cc. POR A., y NICOR
INTERNATIONAL CORPORATION, para el conocimiento

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Republica Dominicana

Poder Judicial

de la demanda en exequatur referida en el

presente inventario (sic);

VISTO: el documento depositado bajo inventario en la
Secretaria de esta Corte por los abogados de la parte
demandante, en fecha 1 de abril de 2004, a cuyo tenor, la

pieza depositada es, a saber:

GNICO: Acto No. 5947/2004, de fecha 25 del mes de Marzo
del afio 2004, instrumentado por el Ministerial JUAN MARCIAL
DAVID MATEO, Alguacil Ordinario de la Tercera Sala del
Juzgado de Primera Instancia del Distrito Nacional,
contentivo de la Notificacién de la Instancia de Oposicidén a
reapertura de Debates formulada por al Compania DE
ELECTRICIDAD DE PUERTO PLATA, S. A. (CEPP), debidamente

registrado (sic);

VISTOS: los documentos depositado bajo inventario en la
Secretaria de esta Corte por los abogados de la parte co-
demandada, en fecha 6 de abril de 2004, a cuyo tenor, la

pieza depositada es, a saber:

1. Original del acto nGmero 440, debidamente
registrado, de fecha 25 de marzo del 2004,
instrumentado por el ministerial Pedro J.
Chevalier, Alguacil de Estrados de la Primera
Sala de la Camara Civil y Comercial del Juzgado

de Primera Instancia del Distrito Nacional,

PDC 24

 
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Republica Dominicana

Poder Judicial

mediante el cual se le notifica a Consultores de
la cuenca del Caribe, C. por A. (Cari-Consult)
la solicitud de reapertura de los debates;

2. Original del instancia de solicitud de
reapertura de los debates, de fecha 24 del mes

de marzo del 2004 (sic);

VISTO: el documento depositado bajo inventario en la
Secretaria de esta Corte por los abogados de la parte
demandante, en fecha 26 de abril de 2004, a cuyo tenor, la

pieza depositada es, a saber:

UNICO: Acto No. 728/2004, de fecha 16 del mes de Abril

 

del afio 2004, instrumentado por el Ministerial JUAN MARCIAL
DAVID MATEO, Alguacil Ordinario de la Tercera Sala del
Juzgado de Primera Instancia del Distrito Nacional,
contentivo de la Notificacién de la Instancia en Oposicién a
Reapertura de Debates, notificado por la compafiia CONSULTORES
| DE LA CUENCA DEL CARIBE, Cc. POR A. (CARIBCONSULT) ,

| Gebidamente registrado (sic);

VISTO: el documento depositado bajo inventario en la
Secretaria de esta Corte por los abogados de Ila parte
demandante, en fecha 1 de julio de 2004, a cuyo tenor, la

pieza depositada es, a saber:

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Republica Dominicana

Poder Judicial

UNICO: Resolucién No. 746-2004, de fecha 19 de Mayo del
ano Dos Mil Cuatro (2004), dictada por el Pleno de la Suprema
Corte de Justicia, en relacién a la sefialada instancia de

recusaci6én (sic);

VISTOS: los demas documentos que reposan en el

expediente;

LA CORTE, DESPUES DE HABER DELIBERADO:

CONSIDERANDO: que con motivo del recurso de impugnacién o

contredit interpuesto por la sociedad de comercio compafiia

 

Consultores de la Cuenca del Caribe, S.A., contra la
sentencia rendida en fecha 4 de octubre de 1996, por la
Camara Civil y Comercial de la Primera Circunscripci6én del
Juzgado de Primera Instancia del Distrito Nacional, a favor
de la raz6én social The Coastal Corporation, Coastal Power
Production Company y la compafifa de Electricidad de Puerto
Plata, S.A., esta Corte dict6é en fecha 6 de septiembre de
2001 su sentencia 336 (expediente No. 141), cuyo dispositivo,

copiado a la letra, reza del modo siguiente:

“PRIMERO: DECLARA regular y valida en
cuanto a ila forma y justa en cuanto al
fondo la demanda en reparacidén de dafios y
perjuicios incoada por la compafrifa
CONSULTORES DE LA CUENCA DEL CARIBE, . S.
A. (CARIB CONSULT), contra THE COASTAL

PDC 26

 
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Republica Dominicana

Poder Judicial

CORPORATION, THE COASTAL POWER PRODUCTION
COMPANY y la COMPANIA DE ELECTRICIDAD DE
PUERTO PLATA, S. A., por haber sido hecha
de conformidad con la ley; SEGUNDO:
DECLARA irrecibible o inadmisible Ila
demanda en intervenci6én voluntaria hecha
por la COMMONWEALTH DEVELOPMENT
CORPORATION, por los motivos dados
anteriormente; TERCERO: DECLARA regular y
valida, en cuanto a la forma, pero la
rechaza en cuanto al fondo, por las
razones indicadas mas arriba, la demanda
en intervencién forzosa incoada por ila
COMPANTA DE ELECTRICIDAD DE PUERTO PLATA,
S. A. (CEPP), contra la CORPORACION

 

DOMINICANA DE ELECTRICIDAD (C. D. £E.);

CUARTO: CONDENA a THE COASTAL
CORPORATION y/o COASTAL POWER PRODUCTION
COMPANY y la COMPANTA DE ELECTRICIDAD DE
PUERTO PLATA, S. A. (CEPP), a pagar a
CONSULTORES DE LA CUENCA DEL CARIBE, S.
A. (CARIB CONSULT), una indemnizacidén
cuyo monto deberé ser liquidado por
estado, de conformidad con los articulos
523 al 525 del Cdédigo de Procedimiento
| Civil, en moneda nacional, por concepto
de los dafios y perjuicios originados con

la violacién ¥ desconocimiento del

PDC 27

 
 

 

 

 

 

Republica Dominicana

Poder Judicial

contrato de servicios profesionales de
fecha 22 de enero de 1993, descrito mas
arriba, en otra parte de este fallo;
QUINTO: CONDENA a THE COASTAL CORPORATION
y/o COASTAL POWER PRODUCTION COMPANY y ila
COMPANTA DE ELECTRICIDAD DE PUERTO PLATA,
S. A. (CEPP), al pago de los intereses
legales a partir de 1a demanda en
justicia, de 1a suma que resultare de la
liquidaci6én por estado de los dafios y
perjuicios, tal y como se ha dispuesto en
el ordinal anterior; SEXTO: CONDENA a
THE COASTAL CORPORATION y/o COASTAL POWER
PRODUCTION COMPANY y 1a COMPANITA ODE
ELECTRICIDAD DE PUERTO PLATA, S. A.
(CEPP}, al pago de las costas del
procedimiento en favor de los DRES. JUAN
FERRAND BARBA, LUIS A. MEDINA SANCHEZ,
FERNANDO RAMIREZ SAINZ y REINALDO FERMIN,
abogados, quienes han afirmado haberlas

avanzado en su totalidad’”;

CONSIDERANDO: que en virtud del fallo cuyo dispositivo se ha
trascrito precedentemente esta Corte esta apoderada Unica y
exclusivamente de la liquidacién de los dafios y perjuicios
que la preindicada decisién condenéd a pagar a las empresas
The Coastal Corporation y Coastal Power Production Company y
la Compafifa de Electricidad de Puerto Plata, S.A., (CEPP), a

PDC 28

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Republica Dominicana

Poder Judicial

favor de la firma Consultores de la Cuenca del Caribe, S.A.,

(Carib Consult) ;

CONSIDERANDO: que en cuanto a la declinatoria por causa de
sospecha legitima contra el pleno de la Camara Civil de la
Corte de Apelacién del Distrito Nacional, obra en el
expediente copia de la resolucién No. 746-2004 de fecha 19 de
mayo de 2004, emanada de la Suprema Corte de Justicia, cuyo
dispositivo es del tenor siguiente: “Primero: Declara
inadmisible la solicitud de declinatoria por causa de
sospecha legitima, contenida en la instancia de referencia;

Segundo: Ordena que la presente resolucién sea comunicada al

 

' Magistrado Procurador General de la Reptiiblica, para los fines
correspondientes (sic)”; en consecuencia resulta innecesario
estatuir sobre dicha solicitud valiendo sentencia esta
soluci6n sin necesidad de hacerla constar en la parte

dispositiva de este fallo;

CONSIDERANDO: que adem&4s, en el expediente se encuentra

depositada copia de la resolucién No. 1234-2003, de fecha 17
de junio de 2003, dada por la Suprema Corte de Justicia cuyo
dispositivo copiado literalmente dice asi: “Declara
inadmisible la solicitud de suspensién de la ejecucién de la
sentencia dictada por la Camara Civil y Comercial de la Corte
de Apelacién de Santo Domingo, el 6 de septiembre del 2001,

| por tratarse de una suspensi6én sobre suspensi6én (sic)";

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Republica Dominicana

Poder Judicial

CONSIDERANDO: que la compafiia de Electricidad de Puerto
Plata, S.A., puesta en mora de presentar conclusiones sobre
el fondo, segtin resulta del acta de la tltima audiencia,
mediante instancia depositada en la Secretaria de esta Corte
| en fecha 1 de abril del 2004, ha solicitado la reapertura de
debates, y, en igual sentido ha formulado pedimento El Paso C
G P Company (antes The Coastal Corporation), mediante
instancia depositada en fecha 6 de abril de 2004, con la
oposicién hecha a esta medida de la sociedad Consultores de

la Cuenca del Caribe, S.A.;

CONSIDERANDO: que si bien es cierto que es una facultad
reconocida por la doctrina jurisprudencial a los jueces
ordenar, ya de oficio o bien a peticién de parte, la
reapertura de los debates cuando estos se han cerrado y si se
han producido hechos y aparecen documentos nuevos gue por
alguna raz6n no pudieron hacerse valer oportunamente, siempre
y cuando los mismos tengan una importancia tal que hagan o
puedan influir en el sino del proceso, no menos verdadero es
que, cuando, como en la especie, la instancia en solicitud de
reapertura de debates, 10 que persigue es aniquilar una
decisi6én contra una parte que, puesta en mora de concluir se
niega a ello, no procede tal medida; que por demas, dichas

solicitudes no se hicieron acompafiar de documentos nuevos;

CONSIDERANDO: que esta Corte es de criterio de que, cuando,

como sucede en la especie, habiéndose concedido a la parte

PDC 30

 
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Republica Dominicana

Poder Judicial

recurrida y a los codemandados la oportunidad de concluir

sobre el fondo, luego de plantear una serie de incidentes que

fueron acumulados por la Corte para fallarlos conjuntamente

con el fondo, sin que estas
no se vulnera el derecho de defensa, toda vez que,
Su propia

hicieran uso de su legitimo

derecho,
es de principio que nadie puede prevalerse de

falta, de su negligencia u omisién imprudente;

CONSIDERANDO: que, en ningtin momento esta Corte les ha
coartado el derecho a los recurridos de concluir sobre el

fondo, ni les ha impedido hacerlo; que al acumular los

incidentes para fallarlos con el fondo, sin renuncia a las

conclusiones incidentales, es, en el criterio de esta Corte

una regla que encuentra su fundamento en el principio

Constitucional de utilidad comunitaria consagrado en el
articulo 8.5 de la Constitucién; entendiendo que es de mayor
beneficio a los intereses colectivos que los procesos no se

eternicen en los tribunales, antes bien que éstos tengan la

capacidad y posibilidad de rendir sus decisiones en tiempo

razonable;

CONSIDERANDO: que procede pues, rechazar, como al efecto se

rechaza, la reapertura de los debates, valiendo sentencia

esta decisi6én sin que sea menester hacerla figurar en la

parte dispositiva de este fallo;

Fl Paso CGP (antes The Coastal
PDC 3}

CONSIDERANDO: que la compafiia

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Republica Dominicana

Poder Judicial

Corporation) solicit6 en conclusiones formales a esta Corte
declarar interrumpida la instancia a consecuencia de que uno
de sus abogados, el Dr. Ramén Tapia Espinal, falleci6é en el
curso del procedimiento, por lo que - conforme con dicha
sociedad - es obligacién de Carib Consult demandar a El Paso

(| CGP Company en renovaci6én de instancia;

CONSIDERANDO: que si bien es cierto que como se desprende del
articulo 344 del Cédigo de Procedimiento Civil, la muerte,
| dimisién, interdicci6én o destitucién del abogado de una de
las partes, y con el propdésito de garantizar a la parte por
dicho letrado representada, su legitimo derecho de defensa,
conlleva necesariamente la interrupci6én de la instancia hasta
tanto se verifique la sustituci6én de dicho letrado, no es
menos cierto que esto sdélo procede cuando la representaci6én
| de la parte de que se trate la ha asumido tan sélo un
abogado, no siendo aplicable el precitado texto legal cuando,
| como en el caso que nos ocupa, la representaci6én y asistencia

técnico - legal de la parte que ha propuesto la interrupcién

 

ha sido confiada a més de un abogado; que dada esa
pluralidad de representaci6n, es obvio que el fallecimiento
del Dr. Tapia Espinal no hace aplicable, reiteramos, el
articulo 344 del Cédigo de Procedimiento Civil; por lo que
estimamos procedente rechazar, como al efecto rechazamos, el

pedimento examinado, valiendo sentencia esta solucién sin

decisién;

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| necesidad de hacerla figurar en el dispositivo de esta
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Republica Dominicana

Poder Judicial

CONSIDERANDO: que la parte recurrida ha peticionado, ademas,
el sobreseimiento definitivo de la presente instancia hasta
tanto sea fallada una demanda incoada por The Coastal
Corporation contra Carib Consult y 1a compafiia Niccer
International Corporation, de la cual fue apoderada la Camara
de Comercio Internacional, la cual apoder6é a un Arbitro,
quien, en fecha 13 de agosto de 2001, emitié un laudo,
producto de la clausula compromisoria inserta en el contrato
de servicios profesionales suscrito originalmente entre The
Coastal Corporation y Niccer International Corporation en

fecha 22 de enero de 1993;

CONSIDERANDO: que, al respecto, vale recordar que las
sentencias de los tribunales dominicanos, son emanaciones de
la soberania nacional, y, cuando adquieren autoridad de cosa
juzgada, de modo definitivo, como sucede con la sentencia No.
409 del 27 de noviembre de 1997, rendida por esta Corte, y
que reconociéd la competencia de los tribunales dominicanos
para conocer de la litis en cuestién, es decir, la demanda en
reparaci6n de dafios y perjuicios, esta decisién prevalece o
se impone a la decisién arbitral; por lo que procede rechazar
dicho pedimento, valiendo sentencia esta solucién sin que sea

mnecesario hacerla figurar en el dispositivo de _ esta

sentencia;

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| Republica Dominicana

Poder Judicial

CONSIDERANDO: que, si bien el informe preparado por la
companiia D C M Ingenieria, S.A., a requerimiento de la
entidad Consultores de la Cuenca del Caribe, S.A, (Carib
Consult) fechado el 4 de diciembre de 2001 resume en sus
| conclusiones lo siguiente: “ por medio de este trabajo hemos
; Querido establecer un marco de referencia que permita
: determinar las indemnizaciones reales por honorarios no
| recibidos por CARIB CONSULT en su participacién para la
| realizacién de los negocios de COASTAL CORPORATION en la
Reptblica Dominicana. El trabajo de CARIB CONSULT fue vital e
| importante en la introduccién de COASTAL CORPORATION en la
| Reptiblica Dominicana. Este requiriéd de una inversi6én de
| tiempo, factor empresarial y esfuerzo, por lo que debe ser
| remunerado con los honorarios dejados de percibir, usando
| como base una indemnizaci6én justa y proporcional al volumen
| de operaciones realizadas por COASTAL CORPORATION, la misma
! cuenta con un capital de inversién en R.D. cercano a los 400
| millones de délares. Finalmente de conformidad con la
| Sentencia Civil No. 336 de la Camara Civil y Comercial de
| Corte de Apelacién de Santo Domingo, se ha realizado una
evaluaci6én profesional de la cantidad estimada por los dafios
| y perjuicios al demandante, esta suma asciende USS 57,294,026

(CINCUENTA Y SIETE MILLONES DOSCIENTOS NOVENTA Y CUATRO MIL

| VEINTISEIS DOLARES)  equivalentes a RDS 954,518,474

(NOVECIENTOS CINCUENTA Y CUATRO MILLONES QUINIENTOS DIECIOCHO

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| MIL CUATROCIENTOS SETENTA Y CUATRO PESOS), considerando los
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| intereses y la deuda de honorarios acumulada a través de los

afios de operacién de COASTAL CORPORATION y sus mtltiples
 

 

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Repiblica Dominicana

Poder Judicial

SUBSIDIARIAS establecidas en el pais (sic)"; y que la suma

que consigna es muy superior a la reclamada originalmente por
la demandante, esa sola circunstancia no es 6ébice para
| inferir gue con ella se pretenda romper la inmutabilidad del
proceso, toda vez que los jueces son soberanos para apreciar
los dafios y no est4n atados a las opiniones de los peritos

pero si a las conclusiones y pretensiones de las partes;

| CONSIDERANDO: que, contrario a lo que plantean los demandados
la demandante original no pretende con dicho reporte el pago
de la suma a que en el mismo se expresa, sino poner a esta
Corte en condicién de fijar, a partir del mismo, el monto de

i Ja indemnizacién a ser acordada;

CONSIDERANDO: que en contradicci6én con lo sostenido por la
' parte intimada, no se trata de una prueba emanada de la
propia recurrente, sino de un peritaje realizado por un

tercero, cuyo contenido, si se considera falaz o interesado o

 

errado puede ser combatido por todos los medios de prueba, lo
que no se ha verificado en la especie, limitandose la parte
intimada a indicar que dicho documento “es un peritaje
mentiroso” sin aportar los elementos de prueba que avalen

Gdichas aseveraciones;

CONSIDERANDO: que nada _ impide, como lo entienden los
recurridos, que la parte a cuyo cargo se haya puesto la

obligacién de liquidar por estado los dafios y perjuicios por
PDC 35

 
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Reptblica Dominicana

Poder Judicial |

ella experimentados, pueda valerse, para hacer dicha prueba

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de cualquier medio probatorio, conservando siempre la parte |
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adversa la posibilidad de impugnar y contradecir las

evaluaciones;
f

CONSIDERANDO: que en consecuencia procede rechazar la

solicitud de nulidad del reporte hecho por la firma DC M
en fecha 4 de diciembre de 2001 y mediante

Ingenieria, S.A.,
el cual se liquidan los dafios y perjuicios experimentados por

la Compafifa Consultores de la Cuenca del Caribe, S.A., (Carib

Consult); valiendo sentencia esta decisién sin necesidad de

hacerla figurar en la parte dispositiva de este fallo;

CONSIDERANDO: que esta Corte es de criterio que debe proceder

a liquidar en 1a suma de diez millones de délares

10,000.000.00), o su equivalente en
que las compafiias |

norteamericanos (USS
pesos dominicanos, las indemnizaciones
demandadas deben pagarle a la razén social demandante por

concepto de la reparacién de los daflos y perjuicios por ella |

experimentados a consecuencia de las faltas retenidas;

|
CONSIDERANDO: que esta indemnizacién se fundamenta en las |
pérdidas experimentadas por la demandante al verse privada de |
las compensaciones a que tenia derecho en su calidad de

agente intermediario tanto en el renglén de generacién de|

|

electricidad como en la venta de gas licuado de petroleo, |
el comportamiento de 1a,

PDC 36

tomando en consideraci6én para ello,

 

 
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Republica Dominicana
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Poder Judicial |

firma y las actividades econémicas mercantiles realizadas y

ejecutadas por la firma demandada;

de ley que todo el que sucumbe en

CONSIDERANDO: que es
de las costas del

justicia, sera condenado al pago
procedimiento;

POR LOS MOTIVOS EXPUESTOS Y en mérito a lo que disponen los |
|

articulos 78, 130, 133, 141, 146, 344 y 525 y siguientes del

Cédigo de Procedimiento Civil; 1315 del Cédigo Civil; y 8.5 |

de la Constituci6én de la Reptblica;

LA CAMARA CIVIL DE LA CORTE DE APELACION DEL DISTRITO

NACIONAL, administrando justicia, EN NOMBRE DE LA REPUBLICA,

por autoridad de la ley y en mérito de los artficulos citados;

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y
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cuanto al fondo y en consecuencia, LIQUIDA en|

PRIMERO: acoge
de DIEZ MILLONES DE DOLARES |

la suma
(USS10,000.000.00),

las indemnizaciones que
CORPORATION, COASTAL POWER PRODUCTION COMPANY y tla compania|

DE ELECTRICIDAD DE PUERTO PLATA (CEPP), deberdn pagarle a la.
(CARIB -|
{
i

|

Oo su equivalente en pesos dominicanos, |
|

las compafiias THE COASTAL}

demandante CONSULTORES DE LA CUENCA DEL CARIBE, S.A.,

CONSULT) ;

PDC 37
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Republica Dominicana

Poder Judicial

SEGUNDO: condena a las partes demandadas al pago de las

costas del proceso y ordena su distracci6én a favor y provecho

de los abogados de la parte demandante, doctores JUAN ANTONIO

FERRAND, LUIS MEDINA SANCHEZ y los licenciados FERNANDO
RAMIREZ SAINZ Y FRANK REYNALDO FERMIN, abogados, quienes

afirman haberlas avanzado en su totalidad;

| Y por esta sentencia asi, se pronuncia, ordena, manda y
|
i

firma;

(FIDOS) MANUEL ALEXIS READ ORTIZ, MARCOS ANTONIO ACOSTA GARCIA, HERMOGENES ACOSTA

DE LOS SANTOS, XIOMARAH ALTAGRACIA SILVA SANTOS y LUCAS A. GUZMAN L., Secretario.

i
| DADA Y FIRMADA ha sido la anterior gentencia por los magistrados que figuran en

el encabezamiento, el mismo dia, mes y ajio expresados por ante mi, Secretario que

| Certifica, LUCAS A. GUZMAN L., Secretario.

CERTIFICA: Que la presente copia es fiel y conforme a su original, la que

firmo y sello a solicitud de la parte interesada, en la ciudad de Santo

Domingo, Distrito Nacional, capital de la Reptiblica Dominicana, hoy dia_29 del

|

1

expido,
|

mes de_septiembre del afio 2004.
|

LUCAS A. GUZMAN L.
Secretario

LIQUIDACION FISCAL:

POR CERTIFICACION........ RD$1.00
POR FOJAS (38)........-5- RD$7.60
TOTAL... cee ee ee eee RDS$9.10

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| POR BUSQUEDA.......-.00+- RDSO.50
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PDC 38
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EXHIBIT “4”
Case 1:02-cv-21769-KAM Document 105 Entered on FLSD Docket 12/06/2004 Page 74 of 83
BanReservas

Sor

25 de octubre del 2004

Senores
Compania de Electricidad de Puerto Plata, S.A.
Ciudad

Atn.: Sr. Marcos Cochon
Gerente General

Distinguidos Senores:

En repuesta a su solicitud de fecha 22 de octubre del ano en curso, les
informamos que su cuenta corriente No.240-007557-8 se encuentra afectada por
motivo del embargo retentivo trabado en su perjuicio a requerimiento de
Consultores Cuenca del Caribe, S.A., mediante Acto No. 456/2004 de fecha 21 de
octubre del 2004. Dicho embrago inmovilizo fondos por RD$5,087,976.12.

Sin mas por el momento, nos reiteramos a sus érdenes.

Atentamente,

a)

Yi / 7
GY art f eff mite
Mee rrchong frre —

Ejecutiva de Negocios Gerente
Banca Corporativa Banca Corporativa

 

 

Recepcidn
re Compania te”
PP Electricidad de

Ovuerto Plata, S.A.

so Mele co De.

RNC-401010U62 www.banreservas.com.do
Case 1:02-cv-21769-KAM Document 105 Entered on FLSD Docket 12/06/2004 Page 75 of 83

EXHIBIT “5”
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; Acta No. AA \2008/

Eniig oes anto oe Distrito Nacional, Republica Damini 7 foe
ee ELL L amc dias del

mes de Noviembre del afio Das Mil Cuatro (2004).

A requerimiento de Io sociedad de comerclo por acciones Consulteres de la Cuenca
del Caribe, 5. A. (CARIB. CONSULT.), consiltuida y existente de conformidad con las leyes
de la Republica Dominicana, con domicilio social en el numero 169, Avenida Pedro Hen-
riquez Urena, de esta ciudad, vdlidamente representada por su Presidente, ingeniero
Rafael Martinez Céspedes, dominicano, mayor de edad, cédula de identidad y electo-
ral nUmero 001-0088294-3, con domicilio y residencia en esta ciudad, quien tiene como
obogedes constituidns y epoderados especiales a los doctores M, A. Bdez Brito, Juan A.
Ferrand y Luis Medina Sanchez y a los licenciadas Femando Ramirez Sainz y Frank Rey-
naidg Fermin, dominicanos, mayores dé edod, cédulas de Identidad y electoral néme-
fos 001-0785826-8, 001-01463531-4, 001-0135934-7, 001-0101934-7 y 001-0727996-0, con es-
tudio cemun en el apartamento 2-D, segunda planta, edificlo nomero 5. Avenida Wins
ton Churchiil, Bella Vista. dé esta ciudad, sv domicilio de eleccidén a los fines del presente

acta,

Yo, Carlos Figvereo Yebilia, infrascrito, Alguacil Ordinario de la Cuarta Sala - Camara Pe-
nal del Juzgade cde, Primera Insfancia def Distrfo Nacional, cédula de identidad y electo-
ral nomnero 001-0132503-3, con domicilio y residencia en e) apartarmento 1-A. edificado
én el nGmero 4, Calle Maranagia, Los Caobas, Municipio de Santo Domingo Oeste. Pro-
vincia de Sante Domingo.

Expresamente, me he trasladade y de manera sucesiva, Primero: Al numero 45, Avenida
México, de esta cludad, domicilio de ia Tesorerig Nacional de ja Repdblica Dominicana

y una vez alli hablande con

 

 

quien me declaré y dijo ser

 

 

, a quien requeri visar e) original del presente acto: Segun-

 

do: Al Despacho del Magistrado Procurader General de Id Republica, sito en uno de los
locales de la tercera planta del Palacio de Justicia, edificado en la inlerseccian forma-
do por las calles licenciacdo Hipslito Herrera Billini y Juan 8. Pérez, Centro de Los Héroes, +
de esta ciudad y uno vez allf hablando con

 

  

quien mé declare y dijo ser

 

 

,a quien raqueri visar éf original del presente

 
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acto; Tercero; Al nomero 3, Avenida John F. Kennedy, de esta ciudad. domicilio del Ban-
co Dominicano del Progreso, $. A. y une vez alli hablanda con

 

quien me declaré y dijo

 

ser _. 4 quien requeri visor al
original dei presente acto; Cuarfo: Al nOmero 20, Avenida Jobin F. Kennedy, de esta ciu-
dad, domicilio del Banco Popular Dominicano, $ A. y uno vez alli hablande con

 

quien me
deciard y dijo ser , & quien
requen visar el original del presente acto; Quinto: A la interseccién formada por la Aveni-
da Winston Churchill y la Calle Porfirio Herrera, de esta ciudad, domicitio de! Bance de
Reservas de la Repdblica Dominicana y uno vez alli hablando con

 

quien me declaré y

 

dijo ser .@ quien requeri visar
el original del presente acto; Sexto: A Ia interseccién farmada por las calles Leopolde
Navarro y Federico Henriquez y Carvajal. de esta ciudad, dornicilio del Bones Central de
la RepGblica Dominicana y und vez alii hablande con

 

quien me deciard y dijo ser

 

a quien requeri visar el original

 

del presente acto: Séplime: Al ndmero 1108, Avenida Rémulo Betoncourt, La Julia, de as-
ta cludad, dornicilio del ja sogiedad Empres@ Gene i

 
 
 

una vez allf hablonde can
quien me deciaré y dijo se

 

,aquién requerli visar el original del présente acto: Octavo: Al

 

numero 53, Calle Paseo de Los Locutores, Ensanche Evarisio Mordies. de esta ciudad,
domicilio de la sociedad Coastal Petroleum Dominicana, $. A. y una vez alli hablado con
‘quien me
declaré y dijo ser ,a quien
frequen’ visar el original del presente acto; Noveno; Al naomero 77, Avenida Winston
Churchill, de esta ciudad, domiciio de la Compania de Electricldad de Puerto Plata, 5S.
A.. y una vez alll hoblande con

 

quien me declaré y dijo ser

 

 

.o quien requen visar el original del presente acto; Déci-

 
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mada por las calles Fabio Fiallo y Beller, Ciudad Nueva, de esta ciudad y una vez alli ha-
blonde con

 

quien me declaré y dijo ser

 

a quien requeri visor el original del presente acto,

 

Y yo Alguacil requerido, actuando en fos lugares de mis trasladas, les he notificado suce-
sivamente a: ESTADO DOMINICANO, en manos de Iq Tesoreria Nacional de la Repibiica
y el Magistrado Procurador General de la Reptiblica; Banco Dominicano del Progreso, 5.
A.: Banco Popular Dominicano, $. A; Banco de Reservas de Ja Republica Dominicana:
Banco Central de la Repdblica Daminicana: Empresa Generadora de Electricidad itabs,
$. A.; Coastal Petroleum Dominicana, $, A.: Compadiiia de Hecticidad de Puerto Plata, S.
A. y 105 sociedades El Paso CGP Company (antes The Coastal Corporation). Ef Paso Pao-
wer Company (antes The Coastal Power Production Company) y El Paso Energy, en ma-
nos del Magistrade Procurador Fiscal del Distrito Nacional, conforme las dispasiciones del
Ordinal 8° del Articulo 69 del Cédigo de Procedimiento Civil, dada ta clrcunstancia de
tener su domicilio sacial en 9 Greenway Ploza, Ciudad de Houston, Estado de Texas,
77046-6995, Estados Unidos de América y 1001 Louisiana Street, Ciudad de Houston, Esta-
do de Texas, 77002, Estados Unidos de América, respectivamente, que la requerienie,
sociedad Consultores de fa Cuenca det Caribe, S. A. (CARIB. CONSUIT.), les cio a com-
parecer y concluir, por ministerio de dbogada, a la audiencia que tendra lugar el dia
Noviembre Quince (15) afio 2004, a las nueve horas de afiang (9:00 A. M.), por anie
el Magistrado Presidente de la Camara Civil y Comercial del Juzqado de Primera Instan-
cia de! Distrito Nacional, en airibuciones de referimiento, sita en @i local de ia Sala de
Audiencias de la Tercera Salo - Camara Civil y Comercial del Juzgade de Primera_Ins-
tancio del Distrito Nacional. ubicada en la segunda polenta del Palacio de Justicia. ecifi-
cado en la interseccién formada por las calles licenciado Hipdlite Herrera Billini y Juan B.

 

 

 

 

Pérez, Centro de Los Héroes, de esta ciudad, a los fines y motives siguientes: Alendida, a
que al tenor de los actas numeros 454-2004, 445-2004 y 448-2004, instrumentades en fe-
chaos Octubre 21, 27 y 28 2004, respectivamente, por el ministerial Carlos Figuereo Yebi-
lia, Alguacil Ordinarie - Cuarta Sala Camara Penal del Juzgado de Primera instancia del
Distrita Nacional, la requeriente, sociedad Consuttores de la Cuenca del] Caribe, §. A,

     
  
 

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y the: Coastal Corporation), F{ Paso Power Campany (anfes The Coastal Power Froduction
Foy
11Q 42004021 32 FRX69-KAM Document 105 Entered on FLSD Docket 12/06/2004 Péa&jen79 of 83
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Company) y Ei Paso Energy, hasta el duple de ta cantidad Veinte Millones Noveclentes
Mil Délares Estadounidenses (US$20,900,000.00), an virtud de L.- Sentencla Clvil No. 336

Expediente No, 141, rendida por la Camara Civa y Comercial de Ia Corfe da Apelacién

de Santo Domingo, en fecha Septiembre 6 2001 y Ill.- Sentencla Civil No. 420, rendida por

la Camara Civil y Comercial de Is Corte de Apelacién det Distrite Nacional, en fecha

Septiembre 29 2004, siencio debicamente nolificadas a los terceros emboargades Jos ti-
tulos que servian de base o ese embargo retentivo y opaslelén: Atendide, a que confor-
me publicacion aparecida en la Paging No. 4 del petiddico Diarie Libre. en su edicidn
correspondiente al dia Noviembre 11 2004, se publica Ia Informacidén siguiente: "El Go-

bierno pagard este mes US$17 MM al sector eléctico, $.D, H Secretarlo de Finanzas, Vi-
cente Bengog, anuncié que e| Goblerno hard este mes un desembolso por U$S17 millo-
hes o Ios empresas del sector eféctrico y que en diciembre gportara otros US525 millo-
nes pard reducir los spagones, Bengog hablid previo a su solida a Coste Rica junto al
Gobernador del Banco Central, Héctor Valdez Albizu, para participar en fo Primera Reu-
nién de Autosidades Econémicas de Centroomérica. Cel 17 de agosto hasta diciembre
el Gobiemo aportard US$130 millones al sector eléctrico."; Atendido. a que es regia de

principio ja que dispone que cuando se esta en presencia de un embargo retentive u

 

oposiclén. el tercero embargado no puede desapoderarse de fos valores o dineros
afectades por ese embargo, titulos de crédito u objetes mobiliarios adeudadas a la par-
te embargada, en la especie Compaiiia Eléctrica de Puerto Plata, &. A. Compania de
Flectricidad de Fuerto Plata, $. A., E] Paso CGP Company (anfes The Coastal Corporu-
flon), El Paso Power Company (antes The Coastal Power Production Company) y Bi Pase
Energy. fas cudies fueron demondadas previa denuncia del embargo en validez del mis-
mo; Atendida, o que conforme las disposiciones del Articulo 549 del Cédigo de Procedi-
miento Civil, modificado por Ia Ley No. 138 de fecha Mayo 21 1971, se dispone: “art.

569.- Los funcionarios publicos, bancos e instituciones de crédito mencionados en el ar-
ticulo 561 no serda cltados en decloracién ofirmativa: pero estardn obligades a expedir
ung constoncia si se debiere, ola parte emborgadg, ¢on indicacién de la syma deblde
sl fuere liquida, cuando tal constancia le sea requerida por el embargante, slempre que
exista fitulo quiéntico o sentencia que decloren Ia validez del embargo."; Atendido, a

 

   
 

a . insttumentads en fecha Octubre 27 2004, por el ministerial Carlos Figuereo Ye-
4: enerales consignadas, la requerlente, socjedad Consultares de la Cuenca del
A. (CARIB. CONSULT), DUso en mora a los lefceros embargados de fibrares Ia
11Q§Se0040P4 88 FAKGO-KAM Document 105 Entered on FLSD Docket 12/06/2004 Pdaye60 of 83
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certificacién a que se refiere e! Anicwlo 5469 del Cédigo de Procedimiante Civil, modifica-
do por la Ley No, 138 de fecha Mayo 21 1971; Afendido, a que siendo qsunto publico y
neotorio que el ESTADO DOMINICAND es deucor de las empresos generadoras de electri-
cidad, proveedoras de servicios mediante la venta de energia eléctica, como por igual
que (as instituciones de Intermediacién financleros se han resistido a librer fa certificacién
que se refiere la Ley No. 138 de fecha Mayo 21 1971, sin causa alguna, se impone ob-
tener por la vicar de! Juez de Referimiento, la fjaciédn de una asireinte, toda vez que se
trata de la ejecucién de una obliqacién de hacer, susceptible de ser ejecviada en na-
turalezg por oquel a cuyo carga se pone fa misma. tal como ocurre con el ESTADO DO-
MINIGANO y el resto de los terceros embargados, pretendiando ignorar que el embargo
retentivo u oposicién cde los fechas prececientes fue practicado en virtud de tifulos eje-
cutorios auténtices sobre cantidades ciertas y liquidas, tomando en cansideracién el
contenido de: | - Sentencia Civil No. 336, Expediente No. 141, rendida por la Cémara Ci-
vil y Comercial de Iq Corte de Apelacién de Santo Domingo, en fecha Septiembre 4
2001 y Ne Sentencia Civil No. 420, rendida por la Camara Civil y Comercial de ta Corte
de Apelecién del Distrita Nacional, en fecha Septiambre 29 2004; Atendido, a que si bien
es cierto que no existe la definicién de urgencia, se la concibe come una situacién de
hecho donde un retordo puede entranar un pervicio irreparable, la que autorza al be-
neficiario de lo dispueste por la Ley, a obtener una decislén que fe garantice el cumnpli-
mienta de la sentencia ao intervenis, con motivo de la demanda en validez contenida en
las actos precedentemente indicados. méxime cuando por tey se dispone que los ter-
ceros embergadoas no serén demandados en declaracién afirmativa; Atendide, 4 que
confonne los Arficulos 101, 107, 109 y 110 de la Ley No. 834 de fecha Julio 15 1978, se
otorga competencia exclusiva al Presidente del Tribunal de Primera Instancle. para dis-
poner en referimiento. aquellas medidas conservatonas fundadas en ia urgencia, que
fiendan 4 evitar una turbacién manifiestamente ilicita, tal come ocuniia en la especie si
las terceros embargodos, desconoclenda el mandato legal - Articulo 549 det Cédigo de
Procedimiento Clvil -. se desapoderan o enfregon a las embargadas, Compania Elécthi-
co de Puerto Plata, 5S. A., Compania de Electrcidad de Puerta Plata, S. A., EI Faso CGP
any (antes The Coostal Corporation). E! Paso Power Company (antes The Coastal

  
     

posiciones previamente consignados; Atendido, a que ef Juez en referimien-
ente tiené Ccompetencio para fiar tas asireintes, sing por igual para realizar su
Cromlinmediata: Atendido, a que toda parte que sucumbe en Justicia sera con

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wh 3 gesting: wee "
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denada al pago de las costas; Por tales razonas, oigan pedir: ESTADO DOMINICANO:
Banco Dominicane del Progreso, §. A.; Bonce Popular Deminicano, $. A.; Banco de Re-
servas de la RepOblica Dominicana: 8ance Central de ta Republica Dominicana; Empre-
sa Generadora de Eleciticidad Habo, $, A.; Coastal Petroleum Dominicana, $. A; Com-
pania de Electriicidad de Puerto Plata, S. A; El Paso CGP Company (antes The Coastal
Corporation); El Paso Power Company (antes The Coastal Power Production Company) y
El Paso Energy y el Magistrado Presidente por sentencia a intervenir fallar: Primero: Dis-
poner como medida censervaiorig, provisional y de urgencia de la competencia del
Madgistrado Presidente del Tribunal de Primera Instancia an Referimientos, que los de-
mandacaes en la presénte instancia, de acuerdo con las disposiciones del Articulo 549
del Cédigo de Procedimiento Civil, modificado por lo Ley No. 138 de fecha Mayo 21
1971, libren en un plaze no mayor de un (1) dia fronco, computado a partir de ta nalif-
cacién de la decisién a intervenir, la cerfificacién dando constancia sobre su colided
de deudores de Compafia de Electricidad de Puerto Plata, 5. A; El Paso CGP Compony
(antes The Coastal Corporation); El Paso Power Company (antes The Coastal Power Pra-
duction Company) y EI Paso Energy. proveniente de valores adeudades en el caso del
ESTADO DOMINICANO y de aquellas valores, tiulos mobillarios o de crédito en manos de
los Instituciones de intermediacion y sociedades sobre las cuales no solo recce la abliga-
cion del embargo. sing jambién el libramiento de fa certificacién exigida por Ley; Se-
gundo: En caso de un retardo o negativa a entregar la certificacién cuya entrega se pi-
de ejecutar, filar una asteinte no menor de Cien Mil Ddélares Estadounidenses (USS100,
000.00) por cada dia de retardo. solideriamente © en todo caso a cargo de aquellos
codemandados que se negaren a doar ejecucién a la decisién ao intervenir: Tercere:
Condenar a los codernandados al pago de las costas, BAJO RESERVAS DE DERECHOS Y
ACCIONES.

Y yo Aiguacil infrascrito, asi lo he notificado y dado copia del presente acto a: ESTADO
DOMINICANO, en manos cle la Tesoreria Nacional de fa Republica y el Magistrade Pro-
curador General de la RepGblica; Banco Dominicano del Progreso, S$. A.; Baneo Papular
Dominicano, S$, A; Bance de Reservas de la Repdblica Bominicana:; Banco Central de la

 

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Sal Gomis D.
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frado Procurador Fiseal del Distito Nacional, conforme las disposiciones del Ordinal 8°
del Articulo 69 del Cédigo de Procedimiento Civil, todo en manes de las personas con
las cuoles hablé en los tugares de mis trasladas y no sé pretenda luego alegar ignoran-

cia,

Costos:

Visado Por,

 

Tesoreria Nacional de Ia Repdéblica Dominicana

 

Magistrado Frocurader General de la Republica

 

Banco Dominicano del Progreso, $. A.

 

Banco Popular Dominicano, $. A.

 

Bance de Reservas de la Repdblica Dominicana

 

Banco Central de ja Republica Dominicana

 
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Empresa Generddora de electricidad Habo. 5. A.

 

Coastal Petaleum Dominicana, S. A.

 

Compaiila de Electricldad de Puerto Plata, 5. A,

 

Maglstrado Procurador Fiscal det Distrito Nacional

 
